Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 1 of 45




                      EXHIBIT 2
           Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 2 of 45



   Antitrust Law: An Analysis of Antitrust Principles and Their Application
                                  (CCH) 320
Antitrust Law: An Analysis of Antitrust Principles and Their Application (Areeda and Hovenkamp)
> Antitrust Law: An Analysis of Antitrust Principles and Their Application - Areeda and
Hovenkamp > CHAPTER 3 The Antitrust System of Remedies (300-399) > 3C Repose in
Antitrust Litigation (315-321)



320. The Antitrust Statute of Limitation


   Last Updated: 5/2023

   The Antitrust Statute of Limitation

    Blenheim Capital Holdings Ltd. v. Lockheed Martin Corp ., 53 F.4th 286 (4th Cir. 2022)
   (statute began to run when defendant sent plaintiff a formal notice of immediate termination);
    Perrigo Co. v. AbbVie Inc ., 2022 WL 2870152 (3d Cir. July 21, 2022) (Under Hatch-
   Waxman Act, once patentee files infringement action based on generic's filing, entry is
   delayed for 30 months or until the lawsuit is resolved; during that time damages could not
   have accrued because entry could not have occurred; that delay was sufficient injury to start
   the statute of limitation); Hawthorne Hangar Operations, L.P. v. Hawthorne Airport, LLC ,
   2022 WL 3102452 (9th Cir. Aug. 4, 2022) (where alleged antitrust violation was predicated
   on two discrete events-defendant's installation of a fence that interfered with the plaintiff's
   business and its filing of state court tort claims-continuing-violation doctrine did not apply);
    Vasquez v. Indiana Univ. Health , Inc ., 40 F.4th 582 (7th Cir. 2022) (after defendant's
   merger it allegedly inaugurated scheme to ruin plaintiffs' business; in that case the date of
   the merger did not determine that statute of limitation); Mayor of Balt. v. Actelion Pharms. ,
   995 F.3d 123, 129-33 (4th Cir. 2021) (with respect to complaint that defendant monopolized
   by failing to make samples of its drug available for copying after the patent had expired, the
   cause of action accrued when the plaintiff consumers were injured by resulting higher prices,
   and the statute was restarted each time a consumer made a higher-priced purchase; prior to
   patent expiration there was no antitrust violation and thus the statute could not relate back to
   that period); Academy of Allergy & Asthma in Primary Care v. Quest Diagnostics, Inc. , 998
   F.3d 190, 196 (5th Cir. 2021) (at pleading stage, alleged meeting between allergy tester and
   its competitors' employees was sufficient to restart statute of limitation); CSX Transp., Inc.
   v. Norfolk S. Ry. Co ., 2023 WL 25344 (E.D. Va. Jan. 3, 2023) (declining to restart statute of
   limitation for each recurrence of a refusal to deal, citing PP320a, c, 338b); US Airways, Inc.
   v. Sabre Holdings Corp ., 2022 WL 1125956 (S.D.N.Y. Apr 15, 2022) (principle that each
   payment on an unlawful agreement fails to restart statute of limitation applies to both
   sections of the Sherman Act); Humana, Inc. v. Celgene Corp ., 2022 WL 1237883 (D.N.J.
   Apr. 27, 2022) (mere persistence of higher prices after a price-fixing agreement insufficient to
   toll statute of limitation, but ongoing actions of enforcement could delay it; in this case the
   defendant refused to sell samples of drugs to generic producers and subsequently and
   frivolously sued some for patent infringement); Snow v. Align Tech., Inc. , 586 F. Supp. 3d
                Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 3 of 45
                                                                                                                     Page 2 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    972 (N.D. Cal. 2022) (in consumer action, each sale of price-fixed product restarts the
    statute of limitation); Nastasi & Assocs., Inc. v. Bloomberg, L.P ., 2022 WL 4448621
    (S.D.N.Y. Sept. 23, 2022) (for purposes of a motion to dismiss, accepting plaintiff's assertion
    that the claims of price fixing and market division were self-concealing); Reveal Chat
    Holdco LLC v. Facebook, Inc ., 2021 WL 1615349, at *5 (N.D. Cal. Apr. 26, 2021), aff'd in
    part, appeal dismissed in part sub nom. Reveal Chat HoldCo LLC v. Meta Platforms, Inc. ,
    2022 WL 595696, at *2 (9th Cir. Feb. 28, 2022) (statute of limitation barred antitrust
    challenge for Facebook's withdrawal of API that harmed plaintiff; while plaintiff had
    immediate knowledge of the withdrawal, it alleged that it did not know about its
    anticompetitive purpose); Namenda Indirect Purchaser Antitrust Litig ., 2021 WL 2403727,
    at *40-*41 (S.D.N.Y. June 11, 2021) (running of statute of limitation might result in exclusion
    of earlier reimbursement claims but not later ones falling within the four-year period).

     See also Trendsettah USA, Inc. v. Swisher, Int'l, Inc. , 31 F.4th 1124 (9th Cir. 2022)
    (antitrust case applying one-year limitation period in Federal Rule of Civil Procedure 60 for
    relief from judgment: may be tolled in case of newly discovered evidence and fraud).

    320a.

    Introduction.
    Limitation serves the same functions in antitrust as elsewhere in the law: to put old liabilities
    to rest, to relieve courts and parties from "stale" claims where the best evidence may no
    longer be available, and to create incentives for those who believe themselves wronged to
    investigate and bring their claims promptly, particularly when they are known or can be
    determined. Repose is especially valuable in antitrust, where tests of legality are often rather
    vague, where many business practices can be simultaneously efficient and beneficial to
    consumers but also challengeable as antitrust violations, where liability doctrines change and
    expand, where damages are punitively trebled, and where duplicate treble damages for the
    same offense may be threatened. In addition, relevant evidence may disappear over time.
    Antitrust liability depends not only on the parties' acts but also on many surrounding
    circumstances, including the behavior of rival firms and general market conditions-matters
    that may be hard to reconstruct long afterwards. Moreover, the old evidence that survives
    may be admitted even though incomplete. 1

    Further, as the Supreme Court observed in its Rotella decision interpreting the antitrust
    statute of limitation, 2 one purpose of the Clayton Act statute of limitation is to take into
    account that the private plaintiff is not merely seeking recompense but is also acting as a
    "private attorney general." While this goal is furthered by the award of treble damages,
    society expects to benefit by having the violation suppressed. As a result, it would be



1 See Kansas City Star Co. v. United States  , 240 F.2d 643, 651 (8th Cir.), cert. denied , 354 U.S. 923 (1957) (admitting old
evidence as tending to show defendant's state of mind).

2 Rotella v. Wood     , 528 U.S. 549 (2000). The action was under the Racketeer Influenced and Corrupt Organizations (RICO)
statute, not antitrust, but that statute uses the same Clayton Act statute of limitation, and judicial interpretation generally applies
to both. See the discussion of Klehr v. A.O. Smith Corp. , 521 U.S. 179 (1997), in 320c7.
                 Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 4 of 45
                                                                                                                   Page 3 of 44
                     Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

         strange to provide an unusually long basic limitations period that could only have the
         effect of postponing whatever public benefit [private enforcement] might realize. The
         Clayton Act avoids any such policy conflict by its accrual rule that "[g]enerally, a cause of
         action accrues and the statute begins to run when a defendant commits an act that
         injures a plaintiff's business ...." 3
    This policy is particularly strong in the case of "public" acts challenged as antitrust violations,
    such as publicly announced joint ventures or mergers, dealer terminations, or exclusionary
    practices that are known by those at whom they are directed. Such practices are generally
    public, and injured parties are able to feel and perhaps to assess their injuries almost
    immediately. But assessing antitrust consequences is often difficult, and reasonable minds
    might differ on that question. In such cases it is especially important that antitrust challenges
    be timely made, thus minimizing the social costs of any antitrust violation but giving the
    parties repose for conduct that is lawful.
    The cases are inconsistent and often hypertechnical, which makes analysis of the general
    problem difficult. Here, as in the law of standing, 4 there is a tendency to bend the law to
    take into account the judge's view of the underlying merits. For example, a court that
    believes that the antitrust claim is unfounded may avoid the substantive issue by concluding
    that the statute of limitation has precluded the action. But such bending is not conducive to
    clarity on either substantive antitrust doctrine or the statute of limitation. As in the case of
    standing, the best way to analyze the limitation issue is to assume that the antitrust laws
    have been violated and then consider when the antitrust cause of action has accrued and
    whether other factors may serve to delay the running of the statute. Throughout this
    Paragraph we assume that the defendant has committed an antitrust violation and withhold
    our own opinion about whether the challenged practice merits condemnation.
    One does see a tendency toward increased strictness against plaintiffs who knew or should
    have known of a violation but delayed bringing their suit. Supreme Court decisions from the
    1960s and earlier were almost casual about plaintiffs who sat on their rights. 5 In those
    years of rapidly expanding antitrust liability, the Court seemed concerned that plaintiffs be
    entitled to challenge practices that had not been recognized as antitrust violations when first
    initiated, but had been condemned far later. 6 In today's world, a more constant scope of
    liability has led to an increasing concern that known violations be challenged promptly.
    Criminal prosecutions are governed by the general provisions of the criminal code, which
    forbids prosecutions not instituted within five years after commission of the offense. 7
    Equitable actions are subject to no statute of limitation, although doctrines of laches limit


3 Rotella   , 528 U.S. at 558, citing Zenith Radio Corp. v. Hazeltine Research, Inc. , 401 U.S. 321, 338 (1971).
4 See   P335.

5 E.g.,Hanover Shoe, Inc. v. United Shoe Mach. Corp. , 392 U.S. 481, 502 n.15 (1968) (plaintiff could sue to challenge
defendant's lease-only policy even though it had been subjected to the policy since 1912).

6 While the lease-only practices at issue in
                                           Hanover had been initiated in 1912, the judgment condemning them did not occur
until the 1950s. United States v. United Shoe Mach. Co. , 110 F. Supp. 295, 340-41 (D. Mass. 1953), aff'd per curiam , 347
U.S. 521 (1954).

7 18 U.S.C. §3282.
                 Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 5 of 45
                                                                                                                    Page 4 of 44
                   Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    injunctive suits brought by private parties. 8 Until 1955, treble damages actions were
    governed by state statutes of limitation, although the antitrust courts decided some issues-
    such as determining the point at which a cause of action accrued or the test of fraudulent
    concealment-as a matter of uniform federal common law. 9 In that year, amendments to the
    Clayton Act added §4B, 10 which provides for a uniform limitation period of four years for
    damage actions and applies to all of the antitrust laws. The running of the limitation period is
    tolled either by the pendency of a government suit 11 or by the defendant's fraudulent
    concealment, as discussed below in 320e. We first look to the question of when the
    limitation period begins running.

    320b.

    Accrual of a cause of action.
    To apply any limitation period, one must first pinpoint the time at which the cause of action
    arose. As a beginning proposition, "a cause of action accrues and the statute begins to run
    when a defendant commits an act that injures a plaintiff's business." 12 The point at which

8 See    320g.

9 E.g., Moviecolor Ltd. v. Eastman Kodak Co.    , 288 F.2d 80 (2d Cir.), cert. denied , 368 U.S. 821 (1961).

10 69 Stat. 283 (1955), codified at 15 U.S.C. §15b.


11 See   P321.

12 Zenith Radio Corp. v. Hazeltine Research, Inc.        , 401 U.S. 321, 338 (1971). Most of the voluminous decisions do not require
separate treatment, but the more important ones are listed here, together with a relevant parenthetical: Paramount Media Grp.,
Inc. v. Village of Bellwood , 929 F.3d 914 (7th Cir. 2019) (statute of limitation for antitrust challenge to village ordinance banning
new billboards began to run when ordinance was passed); SD3 II LLC v. Black & Decker (U.S.), Inc ., 888 F.3d 98 (4th Cir.
2018) (limitation period on claim by designer of disapproved table saw safety device began when each manufacturer ceased
negotiating with the plaintiff as well as on public notice of Justice Department inquiry into defendants' joint venture; as a result,
the plaintiff was aware, outside of the limitation period, of the alleged antitrust violation); Supreme Auto Transp., LLC v. Arcelor
Mittal USA, Inc ., 902 F.3d 735 (7th Cir. 2018) (for purposes of tolling statute of limitation, filing of amended complaint relates
back to filing of original complaint only if the original complaint gave adequate notice of the claim on which the statute allegedly
ran); Pre-Filled Propane Tank Antitrust Litig. , 860 F.3d 1059 (8th Cir. 2017), cert. denied , 138 S. Ct. 647 (2018) (each sale
to a plaintiff at the fixed price restarts statute of limitation; citing 320c ; rejecting argument that Supreme Court's most explicit
statement of this proposition came in a RICO case and did not cover antitrust cases, referencing Klehr v. A.O. Smith Corp. ,
521 U.S. 179, 189 (1997)); Z Tech. Corp. v. Lubrizol Corp ., 753 F.3d 594 (6th Cir. 2014) (statute of limitation on merger runs
from acquisition date and is not extended by post-merger price increases attributable to the merger; acknowledging in principle
that broader application of a noncompete agreement ancillary to the merger might restart statute, but not finding factual support
in this case; also distinguishing cases involving new conduct that did not "stem ... from the merger or was included in the
agreement creating the merger."); DPWN Holdings, Inc. v. United Air Lines, Inc. , 747 F.3d 145 (2d Cir. 2014), on remand ,
No. 11-CV-564 (JG), 2014 WL 5394950 (E.D.N.Y. Sept. 16, 2014) (plaintiff's allegations that it could not have discovered
antitrust violations belied by other allegations in its complaint; remanding on this issue); Levy v. BASF Metals Ltd ., No. 1:15-
cv-7317-GHW, 2017 WL 2533501 (S.D.N.Y. June 9, 2017), aff'd , 917 F.3d 106 (2d Cir. 2019) (plaintiff's claims of conspiracy
to manipulate futures contracts on New York Mercantile Exchange untimely); RX.com v. Medco Health Sols., Inc. , 322 Fed.
Appx. 394, 2009 WL 1067954, 2009-1 Trade Cas. P76,582 (5th Cir. Apr. 22, 2009) (unpublished), cert. denied , 558 U.S. 992
(2009) (Internet pharmacist claims against pharmacy benefits managers for being excluded from their networks barred when the
exclusion had clearly occurred more than four years prior to filing and plaintiff had actually complained to the FTC about that
time); World Wrestling Entm't, Inc. v. Jakks Pac., Inc. , 328 Fed. Appx. 695, 2009 WL 1391807, 2009-1 Trade Cas. P76,617
(2d Cir. May 19, 2009) (unpublished) (antitrust action challenging exclusive agreement between licensor of wrestling IP and a
toy marketer and video game marketer was time-barred; the contract had been made more than seven years prior to filing of
antitrust action, and it was open and notorious at the time it was made, leading a reasonable person to investigate and bring suit
promptly); Toledo Mack Sales & Serv., Inc. v. Mack Trucks, Inc. , 530 F.3d 204 (3d Cir. 2008) (in determining whether acts in
                Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 6 of 45
                                                                                                                    Page 5 of 44
                   Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    injury first occurs is often, but not always, fairly clear. For example, a home buyer alleging an

furtherance of a conspiracy were committed during the limitation period the plaintiff was entitled to rely on all available evidence
that the conspiracy existed, including acts outside the limitation period; damages, of course, would be limited to the limitation
period; as a result, "Toledo was not required to prove an illegal conspiracy with evidence restricted to the limitations period. Its
burden was, rather, to present evidence sufficient to allow a rational jury to conclude that Mack and its dealers committed during
the limitations period overt acts in furtherance of an illegal conspiracy or conspiracies, even if the conspiracies began before the
limitations period." Id. at 218.); Go Computer, Inc. v. Microsoft Corp ., 508 F.3d 170 (4th Cir. 2007) (company allegedly
driven from business by actions some 11 to 15 years prior to filing and there were already numerous "red flags" even at that
time, statute of limitation had run); Hamilton Cnty. Bd. of Comm'rs v. NFL , 491 F.3d 310 (6th Cir. 2007) (statute of limitation
barred county's antitrust suit claiming that NFL acted monopolistically in negotiating a stadium lease in 1997 by making "take it
or leave it" offers to municipality and threatening to move the team unless a new stadium was provided; all the relevant facts
concerning the defendant's power and its strong-arm tactics were known and widely reported as of the time the lease was
negotiated; as well as other antitrust suits brought against NFL teams alleging similar violations); Lower Lake Erie Iron Ore
Antitrust Litig. , 998 F.2d 1144, 1171 (3d Cir. 1993), cert. denied , 510 U.S. 1091 (1994) (statute of limitation did not run on
continuing conspiracy despite fact that plaintiff knew about it for 20 years); Flintkote Co. v. United States , 7 F.3d 870 (9th Cir.
1993) (tolling statute when defendant pled nolo to criminal conspiracy, thus admitting a continuing conspiracy); P & M Servs.,
Inc. v. Gubb , 2008 WL 4185903, 2008-2 Trade Cas. P76,451 (E.D. Mich. Sept. 8, 2008), aff'd , 372 Fed. Appx. 613, 2010
WL 1404451, 2010-1 Trade Cas. P76,966 (6th Cir. Apr. 9, 2010) (unpublished) (statute barred permissive antitrust
counterclaim filed after failed patent infringement suit; relevant date was date allegedly improper suit was filed, more than five
years prior to filing of antitrust complaint). See also Glumetza Antitrust Litig ., ___ F. Supp. 3d ___, 2020 WL 1066934 (N.D.
Cal. Mar. 5, 2020) (pay-for-delay settlement: each sale made during the pendency of the agreement restarted the statute of
limitation. Further, in at least some states doctrine of fraudulent concealment operated to continue limitation period on
agreement that was not publicly disclosed); Nuance Commc'ns, Inc. v. Omilia Nat. Language Sols., Ltd ., 2020 WL 2198362
(D. Mass. May 6, 2020) (cause of action may have accrued more than four years subsequent to a merger if the injury ripened
later; citing 320b); Farag v. Health Care Serv. Corp ., No. 17 C 2547, 2017 WL 2868999 (N.D. Ill. July 5, 2017) (mere act of
continuing to charge more for a branded drug than generic versions did not restart limitation period at the time of each sale);
TFT-LCD (Flat Panel) Antitrust Litig. , 2012 WL 273761, 2012-1 Trade Cas. P77,785 (N.D. Cal. Jan. 30, 2012) (announcement
of government investigation was sufficient to start statute of limitation even though the announcement did not name the
particular firms that were identified here as defendants); Evergreen Helicopters, Inc. v. Erickson Air-Crane, Inc. , 2011 WL
285201, 2011-1 Trade Cas. P77,327 (D. Or. Jan. 26, 2011) (refusal to deal under 14-year contract not barred even though initial
refusals occurred more than four years prior to the complaint, where damages may have accrued later and questions of fact
existed whether refusal was final and irrevocable); Rite Aid Corp. v. American Express Travel Related Servs. Co. , 708 F.
Supp. 2d 257 (E.D.N.Y. 2010) (consumer challenge to "anti-steering" rules that prevented merchants from redirecting customers
toward less expensive credit tools; statute ran anew with each overcharge, thus entitling consumers to maintain the action but
limiting commencement of damages to four years prior to suit); Sulfuric Acid Antitrust Litig. , 743 F. Supp. 2d 827 (N.D. Ill.
2010) (statute of limitation did not bar price-fixing claim when record did not show any evidence that would have put the plaintiffs
on inquiry notice). And see Samsung Elecs. v. Panasonic Corp ., 747 F.3d 1199 (9th Cir. 2014), cert. denied , 574 U.S. 1121
(2015) (in challenge to allegedly anticompetitive provisions in license agreement, adoption of a new license with expanded
provisions served to extend the statute of limitation; court appears to limit this renewal to situations where the renewed
agreement was more expansive than the previous one; rejecting licensor's argument that the new license was a mere extension
because it called for the same royalty rate; also holding that even if the two licenses were the same, licensor's subsequent
insistence that the new license be applied to an additional product that the licensee added to its line served to restart the statute;
finally, court cites speculative damages exception); Wholesale Grocery Prods. Antitrust Litig ., 752 F.3d 728 (8th Cir. 2014),
 cert. denied , 576 U.S. 1004 (2015) (statute of limitation on surreptitious agreement coinciding with publicly disclosed asset
swap did not necessarily run from the date of the asset swap, which would be the ordinary limitation date for a merger) (to the
extent it is relevant, H.H. was consulted by the plaintiff); Alarm Detection Sys., Inc. v. Orland Fire Prot. Dist ., 326 F. Supp. 3d
602 (N.D. Ill. 2018), aff'd , 929 F.3d 865 (7th Cir. 2019) (renewal of exclusive contract restarted statute of limitation); Garrison
v. Oracle Corp ., 159 F. Supp. 3d 1044 (N.D. Cal. 2016) (statute of limitation barred claims of former employees that defendants
conspired to fix and suppress salaries; fact that the agreements rolled forward, covering new employees as well as existing
ones, was not sufficient to toll statute; merely continuing to carry out the conspiracy with each new hire was insufficient to apply
continuing conspiracy doctrine; finally, allegations of fraudulent concealment were not sufficiently specific); Lamictal Indirect
Purchaser & Antitrust Consumer Litig ., 172 F. Supp. 3d 724 (D.N.J. 2016) (aggregation of state law indirect purchaser
challenges to pay-for-delay pharmaceutical settlement; granting motions to dismiss for some states but not others on statute of
limitation grounds); Evanston Nw. Healthcare Corp. Antitrust Litig ., No. 07 C 04446, 2016 WL 4720014 (N.D. Ill. Sept. 9,
2016) (rejecting most parts of statute of limitation challenge to hospital merger and also alleged acts of monopolization;
permitting at least some merger claims to go forward although filed more than four years subsequent to the acquisition, on the
ground that prices did not increase immediately; noting that the merging parties had announced that the merger would benefit
                  Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 7 of 45
                                                                                                                    Page 6 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    illegal agreement between banks and law firms imposing certain title search fees on buyers
    may sue within four years after the purchase and closing. 13 Though the illegal agreement
    may have been entered earlier and the title search completed earlier, this particular plaintiff
    was not injured until she paid those fees at the closing. As a result, she could not have
    maintained an action until that time. The same thing is true of "pay for delay" pharmaceutical
    settlements in which a generic drug stays out of the market pursuant to an unlawful patent
    settlement agreement. 14 The injury would start to accrue on the date that the generic firm
    would have entered the market but for the unlawful settlement. 15
    Two problems of application recur with some frequency: What acts are to be attributed to the
    violation; and does each repetition of an act, such as a repeatedly stated refusal to deal, give
    rise to a new cause of action? In the case of a continuing conspiracy or violation, it is said
    that each independent predicate act that is part of the violation and that injures the plaintiff


consumers). See also Duty Free Ams., Inc. v. Esteé Lauder Co. , 797 F.3d 1248 (11th Cir. 2015) (cosmetics manufacturer's
restrictions on display space and use of tying and full-line forcing all commenced outside the four-year limitation period);
Animation Workers Antitrust Litig ., 87 F. Supp. 3d 1195 (N.D. Cal. 2015) (claim that employers agreed with each other to make
and enforce noncompetition agreements that limited employees' ability to seek competitive jobs accrued when the contracts
were made and did not restart each time an employee requested to be released; a later decision, however, concluded that
plaintiffs actually stated fraudulent concealment. Animation Workers Antitrust Litig ., 123 F. Supp. 3d 1175 (N.D. Cal. 2015));
 Ryan v. Microsoft Corp ., No. 14-CV-04634-LHK, 2015 WL 1738352 (N.D. Cal. Apr. 10, 2015) (question whether statute has
not run pertains not to plaintiffs' awareness of existence of injuries but rather to awareness of the extent of the injuries). And see
Neurontin Antitrust Litig. , 2009 WL 2751029, 2009-2 Trade Cas. P76,723 (D.N.J. Aug. 28, 2009) (new allegations in amended
complaint related back to date that original complaint was filed, nearly six years earlier; during the intervening period the action
had been stayed, and statute did not run during that time); and see Processed Egg Prods. Antitrust Litig. , 2012 WL 6645533,
2012-2 Trade Cas. P78,193 (E.D. Pa. Dec. 20, 2012) (while statute of limitation defenses cannot frequently be resolved on a
Rule 12(b)(6) motion, in this case the complaint itself made clear that the cause of action accrued more than four years prior to
filing); Bailey Lumber & Supply Co. v. Georgia-Pacific Corp. , 2010 WL 1141133, 2010-1 Trade Cas. P76,986 (S.D. Miss. Mar.
19, 2010) (where plaintiff had opted out of class action but then added claim to its own suit, tolling applied to the original opt-out
claim, but statute ran on the additional claim); Cotton Yarn Antitrust Litig. , 2009 WL 618252, 2009-1 Trade Cas. P76,536
(M.D.N.C. Mar. 6, 2009) (one-year statute of limitation contained in arbitration agreement was tolled by fraudulent concealment;
did not run until a purchaser discovered the fraud; note: court assumes that arbitration provision limiting statute to one year is
permissible; effect of court's order is to compel arbitration but also to permit arbitration to go forward on the merits); Aspartame
Antitrust Litig. , 2008 WL 4724094 (E.D. Pa. Aug. 11, 2008), aff'd , 416 Fed. Appx. 208, 2011 WL 263647, 2011-1 Trade Cas.
P77,324 (3d Cir. Jan. 28, 2011) (unpublished) (doctrine of fraudulent concealment did not serve to toll statute of limitation where
plaintiffs should have been aware of alleged cartel based on pricing behavior and took no steps to investigate during the
limitation period); United States v. Swiss Valley Farms Co. , 912 F. Supp. 401 (C.D. Ill. 1995) (if defendant had resumed
making bids competitively rather than collusively, that would have constituted a withdrawal from the conspiracy, thus starting the
statute; but if defendant continued to receive payments under the bid-rigging scheme, then there is no withdrawal, and the
statute would not begin to run).

13 Amey, Inc. v. Gulf Abstract & Title, Inc.  , 758 F.2d 1486 (11th Cir. 1985), cert. denied , 475 U.S. 1107 (1986). See also
Meetinghouse Assocs. v. Warwick Twp. , 1984 WL 2957, 1984-1 Trade Cas. P66,045 (E.D. Pa. Jan. 19, 1984) (plaintiff land
developer alleging conspiracy between municipality and competing developer to deny sewage facility access could sue within
four years after the date developer purchased the property, which was a year after the conspiracy was formed). See also
Stolow v. Greg Manning Auctions, Inc. , 80 Fed. Appx. 722, 2003 WL 22717684, 2003-2 Trade Cas. P74,210 (2d Cir. Nov. 17,
2003) (unpublished) (statute ran against plaintiff who was driven out of business more than four years prior to filing); Corporate
Auto Res. Specialists v. Melton Motors, Inc. , 2005 WL 1028225, 2005-1 Trade Cas. P74,821 (E.D. Mich. Apr. 19, 2005) (where
plaintiff was allegedly injured by exclusive contract given to rival dealer, allegedly as part of price discrimination conspiracy,
statute of limitation required dismissal where contract was executed more than four years prior to the filing of the lawsuit).
14 See   P2046.

15 Nexium (Esomeprazole) Antitrust Litig   ., 2013 WL 6224342 (D. Mass. Nov. 27, 2013).
                 Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 8 of 45
                                                                                                                Page 7 of 44
                   Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    starts the statutory period running again, 16 often regardless of the plaintiff's knowledge of
    the alleged illegality at much earlier times. 17

    320c.

    Continuing conspiracies and violations.

    1.

     Introduction: "independent" predicate act or mere "reaffirmation" of previous act .

    At a sufficient level of abstraction the concept of a "continuing" conspiracy or violation is
    simple enough: the violator's actions consist not only of some definitive act in violation of the
    antitrust laws, but also of a series of subsequent acts that cause further injury to the plaintiff.
    The question then is whether the subsequent acts serve to keep the cause of action alive,
    and the answer depends heavily on the particular facts as well as the type of violation,
    whether cartel (320c2), vertical agreement or refusal to deal (320c3), monopolization
    (320c4), or merger (320c5). Even when a continuing violation is found, damages are
    ordinarily limited to the four years prior to the filing of the complaint (320c6). Finally, the
    Supreme Court's Klehr decision limited the notion of continuing violations when no further
    injury flows from the subsequent acts (320c7).

    The continuing violation issue arises only when (a) the initial act violating the antitrust laws
    has not been improperly concealed and (b) causes sufficient injury early on. If the violation
    is not known to likely plaintiffs, then the fraudulent concealment rule may toll the statute in
    any event. 18 If injury does not materialize immediately after the act or is excessively
    speculative in the early years, then the plaintiff might qualify for the Zenith exception, which
    toll the statute for as long as damages are uncertain. 19 The idea of the continuing
    conspiracy or violation is then that the defendant continues to commit acts in furtherance of
    the violation and each of these additional acts causes additional injury. The statute is said to
    be tolled as long as such qualifying acts continue to be committed.

    The effect of such a tolling rule can be very broad or very narrow, depending on what counts
    as a "continuing" act. To illustrate, consider the firm that creates a monopoly by the single
    unlawful act of filing an improper patent infringement suit and then charges a monopoly price
    for the indefinite future. If the mere charging of a monopoly price constitutes a "continuing
    violation" tolling the statute, then we have indefinitely lengthened the statute of limitation on
    claims of successful monopolization. Of course, if the infringement suit had been


16 Amey    , 758 F.2d 1486; Steiner v. 20th Century-Fox Film Corp. , 232 F.2d 190, 195 (9th Cir. 1956) ("In a continuing
conspiracy causing continuing damage without further overt acts, the statute of limitations runs ... from the time the blow which
caused the damage was struck. Any further internal injury affects the problem of how much should be claimed in damages, not
the problem of when the statute of limitations commences to run."); Crummer Co. v. DuPont , 223 F.2d 238, 247-48 (5th Cir.),
 cert. denied , 350 U.S. 848 (1955).

17 See Hanover Shoe, Inc. v. United Shoe Mach. Corp.    , 392 U.S. 481, 502 n.15 (1968).
18 See   320e.
19 See   320d.
                Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 9 of 45
                                                                                                                      Page 8 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    unsuccessful in creating a monopoly or had created a monopoly of only short duration, then
    the period might be accordingly shorter. Nevertheless, the infringement suit itself causes
    immediate injury and is clearly known to the most likely plaintiff, the infringement defendant
    who is presumably ousted from the market. At the same time, we might want to distinguish
    an antitrust lawsuit brought by a consumer , and challenging the same wrongfully brought
    infringement suit. The filing of the lawsuit very likely causes the consumer no injury at all.
    Rather, the consumer injury occurs when the improper infringement action succeeds in
    strengthening or lengthening the antitrust defendant's monopoly, thus forcing the consumer
    to pay more.
    Or consider the case of a monopolist who allegedly preserves its monopoly position with an
    ongoing policy of leasing but refusing to sell its machinery. 20 In this case the creation of the
    monopoly and the cause of its durability is not identified with a single act in time, but rather
    with an ongoing policy of refusing to sell. Nevertheless, the user of the machine knows of the
    lease-only policy from the day that it is imposed.
    Alternatively, consider the firm that enters into a 25-year exclusive dealing contract and then
    makes shipments and receives payments under the contract. Does each new shipment or
    payment keep the statute of limitation going on the contract? Contrast this situation with the
    defendant who enters short-term exclusive dealing contracts and continually renews or
    reasserts them, continuously refusing to deal except on an exclusive basis.




20 Hanover     Shoe , 392 U.S. at 502 n.15 (ongoing policy of insisting on leasing shoe-making machines was a continuing
violation). See also US Airways, Inc. v. Sabre Holdings Corp ., 938 F.3d 43 (2d Cir. 2019) (given that each subsequent
anticompetitive price was pursuant to the original contracts, the continuing violation doctrine did not apply); Bray v. Bank of Am.
Corp. , 784 Fed. Appx. 738 (11th Cir. 2019) (payments did not serve to extend statute of limitation on old loan agreement);
 Meijer, Inc. v. 3M , 2005 WL 1660188, 2005-2 Trade Cas. P74,882 (E.D. Pa. July 13, 2005) (3M's package discount practices
were a continuing violation, so statute did not run from the date they were first initiated); Marcus Corp. v. American Express Co.
 , 2005 WL 1560484, 2005-2 Trade Cas. P74,851 (S.D.N.Y. July 5, 2005) (statute of limitation on defendant's "all cards" policy
challenged as an unlawful tying arrangement started anew with each transaction pursuant to the agreement, not simply when
the plaintiffs signed their initial agreement under the policy). Cf. Love v. National Med. Enters. , 230 F.3d 765 (5th Cir. 2000)
(RICO challenge to alleged scheme of insurance fraud involving ongoing submission of fraudulent insurance claims; latter could
be a "continuing violation" tolling the statute as to claims within four years prior to filing even if the plaintiff knew or should have
known of the fraudulent scheme).In the context of pay-for-delay pharmaceutical settlements, see Nexium (Esomeprazole)
Antitrust Litigation , 984 F. Supp. 2d 6 (D. Mass. 2013) (cause of action in pay-for-delay pharmaceutical case accrued on "but
for" date of generic entry, which was the first day that purchaser plaintiffs would have suffered an injury, thus starting statute of
limitation); Fond Du Lac Bumper Exchange, Inc. v. Jui Li Enterprise Co. , 85 F. Supp. 3d 1007 (E.D. Wis. 2015) (complaint
sufficiently alleged continuing price-fixing violation); and Aggrenox Antitrust Litigation , No. 3:14-md-2516 SRU, 2015 WL
4459607 (D. Conn. July 21, 2015) (noting difference of opinion among courts and the Antitrust Law treatise on question of
when a monopolist's ongoing unilateral conduct is a continuing violation while damages remain speculative). See also XY, LLC
v. Trans Ova Genetics, L.C. , 890 F.3d 1282 (Fed. Cir. 2018) (continuing conspiracy exception did not apply because there was
no accumulating injury after plaintiff's license agreement was terminated). See also Niaspan Antitrust Litig. , 42 F. Supp. 3d
735 (E.D. Pa. 2014) (each allegedly unlawful sale of drug whose prices were too high as a result of a pay-for-delay settlement
restarted the statute of limitation, stating: Every court to have considered this issue in the pay-for-delay context has held that a
new cause of action accrues to purchasers upon each overpriced sale of the drug. See, e.g., K-Dur Antitrust Litig. , 338 F.
Supp. 2d 517, 549 (D.N.J. 2004) ("Plaintiffs' claims are not barred by the statute of limitations to the extent that they bought and
overpaid for K-Dur within the applicable time limitations."); Buspirone Patent Litig. , 185 F. Supp. 2d 363, 378 (S.D.N.Y. 2002)
("[I]f a party commits an initial unlawful act that allows it to maintain market control and overcharge purchasers for a period
longer than four years, purchasers maintain a right of action for any overcharges paid within the four years prior to their filings.");
   Skelaxin (Metaxalone) Antitrust Litig. , No. 12-md-2343, 2013 WL 2181185 (E.D. Tenn. May 20, 2013) (holding that the
plaintiffs' claims were timely because they were "overcharged for metaxalone well into the limitations period"). Id. at 746-47.).
               Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 10 of 45
                                                                                                                       Page 9 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    The courts have distinguished between "independent predicate acts" that are sufficient to
    keep the claim alive 21 from actions that are merely "reaffirmations" of the initial act, which
    are not sufficient. 22 While these terms may seem helpful, they are hardly decisive in close
    cases. Pace Industries found a "mere reaffirmation" in the antitrust defendant's subsequent
    prosecution of a lawsuit and set the statute of limitation running from the date the lawsuit was
    filed. 23

    The Fifth Circuit has articulated the distinction with somewhat awkward but nevertheless
    helpful language. Before a subsequent act can be said to preserve an antitrust claim, that act
    "must be based on some injurious act actually occurring during the limitations period, not
    merely the abatable but unabated inertial consequences of some pre-limitations action ." 24
    For example, it would seem that high prices following an anticompetitive merger or the
    creation of a monopoly are mere "inertial consequences" that one naturally expects to flow
    from such acts. An automatic and thus "inertial" consequence of a merger is the making of
    subsequent sales. By contrast, a series of ongoing meetings to correct a cartel and adjust its
    prices is hardly "inertial" but manifests a commitment to renewing the competitive act. Most
    of the decisions are consistent with these observations.
    In considering whether ongoing actions are "independent" or merely "reaffirmations," the
    more recent decisions have paid increased attention to what the plaintiff knew or should
    have known when the initial act constituting the violation occurred. This is usually the best
    explanation for the differing treatment between naked and hidden price fixing, where courts
    are quick to extend the statute for ongoing payments or meetings, and vertical arrangements
    involving refusal to deal, tying, or exclusive dealing, where the courts show much more
    reluctance. In the typical cartel case, the buyer does not know about the cartel or only


21 E.g., Hugh Chalmers Motors, Inc. v. Toyota Motor Sales USA, Inc.       , 184 F.3d 761, 762-63 (8th Cir. 1999), cert. denied ,
528 U.S. 1156 (2000) (unspecified acts by distributor may have been a "continuing violation," under definition requiring "new and
independent acts inflicting new and accumulating injury on antitrust plaintiff").

22 E.g., Grand Rapids Plastics, Inc. v. Lakian   , 188 F.3d 401, 406 (6th Cir. 1999), cert. denied , 529 U.S. 1037 (2000).

23 Pace Indus., Inc. v. Three Phoenix Co.        , 813 F.2d 234, 237 (9th Cir. 1987) ("even when a plaintiff alleges a continuing
violation, an overt act by the defendant is required to restart the statute of limitations and the statute runs from the last overt act";
here, last overt act was allegedly anticompetitive filing of state court action on restrictive covenant, not subsequent prosecution
of suit). See also DXS , 100 F.3d at 467 & n.3 (distinguishing "new and independent" acts that constitute continuing violations
from acts that merely "reaffirm the initial act" and are thus not continuing violations; defendant initially notified customers that it
would require a safety check of equipment serviced by third parties; then it neglected to enforce the policy for a time; then it
enforced it; court: had the defendant issued the notification and immediately followed through, the subsequent insistence would
have been part of a continuing course of action beginning with the notification; however, because the defendant did not follow
through immediately, the subsequent refusals restarted the statute); Kaw Valley Elec. Coop. Co. v. Kansas Elec. Power Coop.,
Inc. , 872 F.2d 931, 933 (10th Cir. 1989) (a ratified decision not to provide power to a rival was final, and subsequent acts of
refusal merely affirmed it; statute ran from initial act); Iron Workers Local v. Philip Morris, Inc. , 29 F. Supp. 2d 801, 805 (N.D.
Ohio 1998) (ongoing, repeated denials that cigarettes were unsafe were a continuing violation, particularly since there was
evidence that the plaintiffs knew of the falsity already in the 1960s).

24 Al George, Inc. v. Envirotech Corp. , 939 F.2d 1271, 1274 (5th Cir. 1991) (facts similar to those of Pace , 813 F.2d at 237);
 Poster Exch., Inc. v. National Screen Serv. Corp. , 456 F.2d 662, 666 (5th Cir. 1972) (statute did not run on refusal to deal
where defendant repeatedly refused); United Farmers Agents Ass'n, Inc. v. Farmers Ins. Exch. , 892 F. Supp. 890, 912 (W.D.
Tex. 1995), aff'd , 89 F.3d 233 (5th Cir. 1996), cert. denied , 519 U.S. 1116 (1997) (defendant conditioned sale of electronic
database for real estate agents on purchase of computer; but condition had been announced more than four years prior to filing
and defendant had pursued this policy continuously; statute ran from first announcement of the policy).
               Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 11 of 45
                                                                                                                   Page 10 of 44
                   Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    suspects it. By contrast, in the typical refusal to deal, tying, or exclusive dealing case, the
    injured party and likely plaintiff has virtually immediate knowledge of the unlawful act. The
    extent of a plaintiff's earlier knowledge is said to be irrelevant to the tolling question in the
    case of continuing violations. 25 But in fact the most reliable way to predict outcomes is to
    separate situations where an injured plaintiff had actual knowledge of a violating act and had
    suffered sufficient injury (statute not tolled) from those where the plaintiff had no knowledge
    or its knowledge was incomplete or imperfect (statute tolled).

    320c2.

     Cartel behavior .
    Consider the easy case of the price-fixing conspirators who meet once a year to adjust the
    cartel price or output quotas to be imposed on each cartel member. In such a case each new
    meeting serves to keep the cause of action alive for those injuries that occur within four
    years prior to the filing of an antitrust complaint. Such a case is easy because each new
    meeting of the cartel is independently unlawful without regard to any meeting that may have
    occurred previously. For example, suppose the cartel forms at a meeting on July 31, 1990,
    and then meets each July 31 for seven years through 1997. The purpose of the meeting is to
    adjust the cartel price, which may have become too high or too low in the intervening year,
    and to re-allocate the cartel's output allocations. 26 The plaintiff files suit late in 1999, and
    may take advantage of the 1997 and 1996 meetings to bring its cause of action within the
    limitation period. But the plaintiff would have that suit even if no meetings had occurred prior
    to 1997, because each new meeting of a cartel to adjust its price or output is independently
    illegal whether or not there were prior meetings. Indeed, in this case it can be said that the
    cartel members' meeting each year sets the cartel price, and thus the plaintiff's damages, for
    that year. Thus, for example, each new joint resolution passed by dentists not to participate
    in the plaintiff health insurer's prepaid dental plan started anew the four-year statute of
    limitation. 27
    But suppose the cartel forms in 1990 and never requires another communication among
    members? It keeps selling at agreed-upon prices until 1996, when a consumer files suit.
    Some courts conclude that each sale itself is an independent act sufficient to toll the statute.
     28 Indeed, some courts do not start the statute's final run until bid-rigging conspirators have




25 See, e.g., Klehr v. A.O. Smith Corp.    , 521 U.S. 179, 189 (1997) (continuing violation "starts the statutory period running
again, regardless of the plaintiff's knowledge of the alleged illegality at much earlier times," quoting an earlier version of this
Paragraph).

26 On the need for the cartel to set and subsequently control each member's output, see    2002b. See Exhaust Unlimited, Inc. v.
Cintas Corp. , 326 F. Supp. 2d 928 (S.D. Ill. 2004) (for claim alleging that auto repair shops conspired to assess environmental
charges, cause of action accrued each time the defendants imposed the charges).

27 Pennsylvania Dental Ass'n v. Medical Serv. Ass'n of Pa., 815 F.2d 270 (3d Cir.), cert. denied , 484 U.S. 851 (1987). See
also Carbon Black Antitrust Litig. , 2005 WL 102966, 2005-1 Trade Cas. P74,695 (D. Mass. Jan. 18, 2005) (statute of limitation
did not run on alleged price-fixing conspiracy when defendants committed acts in furtherance of the conspiracy well into the
limitation period).

28 E.g., Columbia Steel Casting Co. v. Portland Gen. Elec. Co. , 103 F.3d 1446 (9th Cir.), amended on reh'g , 111 F.3d 1427
(9th Cir. 1996), cert. denied , 523 U.S. 1112 (1998) (where a utility agreed with another utility to stop competing in the plaintiff's
               Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 12 of 45
                                                                                                                 Page 11 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

     received the last payment on their successful but illegal bid, reasoning that the "scope and
     purpose of the conspiracy included the receipt of payments on the contracts awarded
     pursuant to collusive, non-competitive bids," 29 or that receiving payment "reflected the
     inflated and anticompetitive price for the work" and was thus "necessary to the successful
     consummation of the bid-rigging agreement." 30 That the bid payments were received by an
     individual co-conspirator rather than by the group did not disturb either court, 31 for the
     conspiracy lasts until its objectives "succeed or are abandoned," and receiving payments
     clearly indicates the former. 32
     Even here, however, the courts tend to start the statute of limitation once the cartel becomes
     publicly known-for example, when one of its members is caught or convicted. 33 That is
     consistent with the observation made previously that courts interpret the statute of limitation
     much less favorably to the plaintiff with actual or objective knowledge of the offense.

     In Therm-All the Fifth Circuit concluded that in order to obtain a criminal conviction for
     price fixing the government was required to show overt acts during the criminal limitation
     period sufficient to prove that the conspiracy existed during that period. 34 It was not enough
     to show merely that prices remained at the cartel level within the limitation period. A
     dissenter objected that in addition to continuing high prices the government had also shown
     that the defendants continued to exchange price information during the limitation period, a
     fact not mentioned by the majority. If proven, however, a continuing exchange of pricing
     information subsequent to the formation of a cartel could be an overt act, for it would be the
     means by which cartel members monitor one another's compliance with the cartel price
     levels.

     Whether continuing high prices alone should be sufficient to toll the statute is a closer
     question, and the outcome could vary with the facts. First, one must be certain that the
     continuing higher prices were a consequence of the price-fixing agreement, not merely of
     higher costs. Second, some cartel administrations are more "structural" than others and may
     have longer-lasting price effects, making subsequent enforcement unnecessary. For


market in 1972, but then refused the plaintiff's request for service in 1990, the statute of limitation began to run with the 1990
refusal, not with the 1972 agreement; even assuming that the 1972 agreement was the unlawful territorial division being
challenged, the 1990 refusal was an "overt act" restarting the statute).

29 United States v. Northern Improvement Co.      , 814 F.2d 540, 542-43 (8th Cir.), cert. denied , 484 U.S. 846 (1987).

30 United States v. A-A-A Elec. Co.    , 788 F.2d 242, 245 (4th Cir. 1986).

31 Id.at 245; Northern Improvement , 814 F.2d at 543. Accord United States v. District of Columbia , 788 F.2d 239 (4th Cir.
1986); United States v. Girard , 744 F.2d 1170, 1173-74 (5th Cir. 1984).

32 United States v. Dynalectric Co.    , 859 F.2d 1559, 1563 (11th Cir. 1988), cert. denied , 490 U.S. 1006 (1989); United
States v. Evans & Assocs. Constr. Co. , 839 F.2d 656 (10th Cir.), aff'd on reh'g , 857 F.2d 720 (10th Cir. 1988) (last payment
within limitation period though bid-rigged contract awarded seven years before suit); United States v. Inryco, Inc. , 642 F.2d
290 (9th Cir. 1981).

33 See, e.g., Morton's Mkt., Inc. v. Gustafson's Dairy, Inc.  , 198 F.3d 823 (11th Cir. 1999), cert. denied , 529 U.S. 1130 (2000)
(fact question as to whether plaintiffs had notice of existence of a conspiracy).

34 United States v. Therm-All, Inc.   , 352 F.3d 924 (5th Cir. 2003).
              Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 13 of 45
                                                                                                                Page 12 of 44
                   Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    example, if two firms decide to divide the paint market, with one making latex water-based
    paint and the other oil-based paint, carrying out the agreement could require significant
    commitments to certain technologies, and these firms might not enter each other's markets
    for many years after they stop "enforcing" their market division. On the other hand, if a cartel
    in a competitively structured market caused overnight increases in short-term prices, one
    would expect prices to move back to the cartel level very quickly after cartel enforcement
    ceased. In the latter case but not the former, it would thus be reasonable to infer continuing
    acts from continuing higher prices. The cartel in Therm-All , which involved garden-variety
    price fixing of thermal insulation, seems more like the latter type. 35

    320c3.

     Vertical agreements and refusals to deal; Robinson-Patman violations .
    When the objective of the agreement is something less than a naked cartel, the courts
    become more divided. A few decisions permit mere payments to keep the claim alive. 36 But
    other courts have seen such tolling as unjustified. They have held that the mere receipt of
    franchise or lease payments under an agreement alleged to contain unlawful tying did not
    restart the limitations period without proof that the defendant had continuing power to force
    acceptance of the tie. One decision distinguished the "active enforcement of an illegal tying
    contract" from "the passive receipt of profits." Only the former is a sufficiently "overt act" to
    re-start the statute, because lease payments alone did not show that the defendant had the
    "ability to enforce the tie absent voluntary cooperation" by the plaintiff-that is, that the
    defendant had the market power that would make the alleged tie illegal. 37 Of course, if
    monopoly power continues, an illegal lease-only policy created a cause of action every time
    the monopolist re-leased and impliedly refused to sell. 38 Once again, however, each new
    refusal to lease when accompanied by monopoly power would have to be counted as a new
    violation, whether or not the defendant had previously refused. Another distinguishing feature



35 In any event, the court subsequently found that the evidence that price fixing was ongoing was sufficient to toll the statute.

This evidence included repeated setting of prices. United States v. Therm-All, Inc. , 373 F.3d 625 (5th Cir.), cert. denied ,
543 U.S. 1004 (2004). See also United States v. Anderson , 326 F.3d 1319 (11th Cir.), cert. denied , 540 U.S. 825 (2003) (bid
rigging on three construction contracts over an eight-year period part of a single overarching conspiracy, thus bringing all within
the criminal statute of limitation; here, the initial agreement expressed a willingness to cooperate on future agreements as well;
while the parties were not identical in every instance, the agreements worked in the same manner).

36 See, e.g., Hennegan v. Pacifico Creative Serv., Inc.
                                                      , 787 F.2d 1299 (9th Cir.), cert. denied , 479 U.S. 886 (1986) (limitation
period begins anew each time defendant souvenir vendors competing with the plaintiff made payments to defendant tour
operators, implementing alleged conspiracy to deny trade to the plaintiff); National Souvenir Ctr. v. Historic Figures, Inc. , 728
F.2d 503 (D.C. Cir.), cert. denied , 469 U.S. 825 (1984) (statute's final run does not start until expiration of long-term lease
requiring plaintiff museum operator to pay for defendant's wax figures, whether used or not, thus discouraging use of rival
products and thereby allegedly implementing the defendant's attempt to monopolize the market for such figures).

37 Eichman v. Fotomat Corp.      , 880 F.2d 149, 160 (9th Cir. 1989). Apparently contra: Imperial Point Colonnades Condo., Inc. v.
Mangurian , 549 F.2d 1029 (5th Cir.), cert. denied , 434 U.S. 859 (1977) (cause of action accrues each time defendant
collected rent for facilities leased to condominium on alleged tie that firmly bound plaintiffs from the day they purchased their
condos). See also Varner v. Peterson Farms , 371 F.3d 1011, 1020 (8th Cir. 2004) (where original contract claimed to contain
tying provision had not been modified, subsequent sales under the contract did not toll the statute of limitation).

38 Hanover Shoe, Inc. v. United Shoe Mach. Corp.    , 392 U.S. 481, 502 n.15 (1968).
                 Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 14 of 45
                                                                                                                        Page 13 of 44
                      Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    between the cartel and the unlawful tie or exclusive dealing is that the likely plaintiff has
    almost immediate knowledge of its existence.
    The best solution to the problem of long-term contracts that are unlawful, if at all, from the
    beginning but also known to the plaintiff, is to use the statute of limitation to bar the tardy
    damage action but to give flexibility in equity to permit the injunction against continued
    enforcement. To illustrate, suppose that the defendant imposes a 20-year requirements
    contract on the plaintiff that was challengeable as exclusive dealing from its inception. The
    purchaser who suffers injury but delays its damage action for six years has lost its
    opportunity to collect damages; but the public as well as the purchaser still profit from the
    termination of an anticompetitive arrangement. The court should permit an action declaring
    the contract unlawful and unenforceable. 39 This approach may be precluded if the court
    woodenly adopts the principle that the period for determining whether laches bars an
    injunction is the same as that for the statute of limitation. 40
    The cases involving refusals to deal often make "finality" decisive. Suppose, for example,
    that a dealer is terminated in 1990 because the manufacturer has designated a different
    dealer as its sole outlet in that city. 41 In 1993 the dealer requests reinstatement but is
    summarily denied, the manufacturer citing the exclusive outlet arrangement. Is the dealer's
    1995 antitrust suit challenging the exclusive contract time-barred, or was it revitalized by the
    1993 refusal?
    In some cases, of course, a single refusal is all that ever occurs, and the statute runs from
    that instant. But in many cases the refusal is ongoing, represented either by repeated
    refusals to deal with the plaintiff or repeated assertions of a company policy.
    An illegal unilateral refusal to deal following a termination of prior dealings or otherwise
    creates a cause of action when it occurs 42 or becomes final. 43 Plaintiffs are generally not
    allowed perpetually to restart the limitation period merely by repeated requests that the
    defendant refuses. Thus the limitation period continues running notwithstanding a terminated



39 We would do the same thing in a case like     Weber v. Consumer's Digest, Inc. , 440 F.2d 729 (7th Cir. 1971), which permitted
the antitrust claimant to challenge an old restrictive covenant as unlawful when the promisee brought suit on the covenant. If the
limitation period had expired before the suit was brought, the appropriate resolution would be to permit the restraint of trade
issue as a defense to enforcement but not as a basis for damages.
40 See   320g.
41 On sole outlets, see   P1650 - P1655.

42 E.g., Garelick v. Goerlich's, Inc.  , 323 F.2d 854 (6th Cir. 1963) (manufacturer sent letter terminating distributor; later refused
to return distributor's calls and refused reinstatement; statute ran from sending of initial letter); Saunders v. NBA , 348 F. Supp.
649 (N.D. Ill. 1972) (NBA initially refused to draft plaintiff eight years prior to filing and consistently refused to draft him thereafter;
statute ran from initial refusal); Norman Tobacco & Candy Co. v. Gillette Safety Razor Co. , 197 F. Supp. 333 (N.D. Ala. 1960),
 aff'd , 295 F.2d 362 (5th Cir. 1961) (first refusal to sell to wholesaler starts statute).

43 On finality, see   Adelman v. Mercy Catholic Medical Center , 1996 WL 635661, 1996-2 Trade Cas. P71,628 (E.D. Pa. Oct.
31, 1996) (statute of limitation on physician's denial of staff privileges began to run when the hospital's board of directors
affirmed the medical board's recommendation, thus making the decision final within the institution). See also Creative Copier
Servs. v. Xerox Corp. , 2005 WL 2175138, 2005-2 Trade Cas. P74,929 (D. Conn. Sept. 2, 2005) (denying motion for summary
judgment on Kodak -style refusal to deal claim; there were sufficient facts from which fact finder could discern that Xerox's
initial refusal to sell parts-see P709 -was soft and subject to exceptions, while the refusal hardened up within the limitation
period).
               Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 15 of 45
                                                                                                                   Page 14 of 44
                   Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

        dealer's new request for supplies. 44 Most courts see no continuing violation when the initial
        refusal to deal is "irrevocable, immutable, permanent and final." 45 They emphasize that the
        plaintiff's injury resulted from the initial refusal. 46 Hence, general inquiries by third-party
        brokers in behalf of the plaintiff, with whom the defendant had earlier refused to deal, do not
        restart the limitation period. 47
        An occasional court rejects the general rule, 48 but most courts restarting the statute after a
        new refusal to deal point to special circumstances, 49 such as a "genuine" subsequent
        request by one having "reason to believe the original [refusal to deal] decision ... did not still
        stand." 50 We dispute decisions restarting the statute any time the plaintiff remains in the


44 David Orgell, Inc. v. Geary's Stores, Inc.   , 640 F.2d 936 (9th Cir.),   cert. denied , 454 U.S. 816 (1981), citing an earlier
edition of this Paragraph.

45 Multidistrict Vehicle Air Pollution v. General Motors Corp. , 591 F.2d 68, 72 (9th Cir.), cert. denied , 444 U.S. 900 (1979).
 See also Kaw Valley Elec. Coop. v. Kansas Elec. Power Coop. , 872 F.2d 931, 934 (10th Cir. 1989) (refusal to share electric
power confirmed in formal resolution by defendant's board of trustees was final). But see DXS, Inc. v. Siemens Med. Sys., Inc.
 , 100 F.3d 462, 467 (6th Cir. 1996) (defendant's representations to service customers that their warranties would be voided if
they used ISO's repair services represented part of a continuing, Kodak -style antitrust violation, thus delaying the accrual of
the cause of action). Contra Bonollo Rubbish Removal, Inc. v. Town of Franklin , 886 F. Supp. 955 (D. Mass. 1995) (dicta; in
challenge to allegedly anticompetitive municipal trash-hauling ordinance, statute of limitation began to run not when the allegedly
anticompetitive ordinance was passed, but on the last date that the plaintiff had been forced to patronize undesired facilities
under the force of the statute; but by this reasoning there would be no statute of limitation on a challenge to a statute, which is
obviously known to the injured plaintiff).

46 In  Barnosky Oils, Inc. v. Union Oil Co. , 665 F.2d 74 (6th Cir. 1981), defendant allegedly forced plaintiff distributor to agree
not to sell to price-cutting retailer and continued to insist on compliance with that agreement although plaintiff made no requests
within last four years. In SJ Advanced Technology & Manufacturing Corp. v. Junkunc , 627 F. Supp. 572 (N.D. Ill. 1986),
defendant's continued refusal to deal with those who deal with plaintiff was insufficient to restart the statute.

47 Lomar Wholesale Grocery, Inc. v. Dieter's Gourmet Foods       , 824 F.2d 582, 586-87 (8th Cir. 1987), cert. denied , 484 U.S.
1010 (1988).

48 Poster Exch., Inc. v. National Screen Serv. Corp.      , 456 F.2d 662, 666 (5th Cir. 1972), subsequent disposition , 517 F.2d
129 (5th Cir. 1975); Bell v. Dow Chem. Co. , 847 F.2d 1179, 1187 (5th Cir. 1988) (a new "specific act or word of refusal"
restarts limitation period). Believing the general rule inapplicable to monopolization cases, Poster Exchange asked the lower
court to determine whether any "specific act or word" of refusal occurred within four years before suit. However, the policy of
repose behind the rule seems equally applicable to all offenses. See also Travel Agent Comm'n Antitrust Litig. , 583 F.3d 896
(6th Cir. 2009), cert. denied , 562 U.S. 1134 (2011) (allegedly collusive decision not to pay travel agent commissions did not
restart the statute each time defendant acted; rather, it was reaffirmation of a previous act, thus likening the zero commission
case more to refusal to deal rather than price fixing).

49 E.g., Braun v. Berenson  , 432 F.2d 538, 543 (5th Cir. 1970) (defendant lessor's repeated refusal to lease new or additional
space to plaintiff store owner creates new cause of action because store space is available not continuously but "only
periodically and under uniquely different circumstances"); Century Hardware Corp. v. Powernail Co. , 282 F. Supp. 223 (E.D.
Wis. 1968).

50 Midwestern Waffles, Inc. v. Waffle House, Inc.   , 734 F.2d 705, 715 (11th Cir. 1984) (request known to be futile would not
create new injury). The court's emphasis on new injury implies, contrary to other language in the opinion, that the suit would be
based on the new refusal, not the original refusal. See also LaSalvia v. United Dairymen of Ariz. , 804 F.2d 1113 (9th Cir.
1986), cert. denied , 482 U.S. 928 (1987) (subsequent refusal to deal starts statute of limitation anew if it causes additional
injury); Vincent v. Reynolds Mem'l Hosp., Inc. , 881 F.2d 1070, 1989 WL 87633, 1989-2 Trade Cas. P68,681 (4th Cir. July
25, 1989) (unpublished) (hospital's repeated denials of staff privileges to plaintiff physician constituted a continuing violation);
 Red Lion Med. Safety, Inc. v. Ohmeda, Inc. , 63 F. Supp. 2d 1218 (E.D. Cal. 1999) (even though defendant's policy of refusing
to sell parts was in place for some ten years prior to the filing of suit, it was a continuing violation; suggesting that a refusal to
               Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 16 of 45
                                                                                                                 Page 15 of 44
                   Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    business and tolling it only for plaintiffs completely excluded from the market by the refusal.
     51 More than almost any other plaintiff, the victim of a direct refusal to deal knows

    immediately that it has occurred. Particularly when the legal status of the conduct is
    ambiguous, as it is in nearly all cases involving unilateral refusals to deal, such plaintiffs
    should have every incentive to bring their suit in a timely fashion, thus minimizing the social
    damage of any antitrust violation that is subsequently found.
    Several courts have held that where the refusal to deal with the plaintiff implements an illegal
    contract granting exclusive privileges to the plaintiff's rivals, each refusal implementing the
    illegal contract restarts the limitation period. 52 Courts restarting the statute emphasize the
    defendant's continuing operation under an illegal contract as creating a continuing cause of
    action. 53 But restarting the statute seems unwise in the case of the long-term contract
    whose existence was known to the plaintiff from its inception. For example, most exclusive
    dealing arrangements are efficient, and long-term arrangements are conducive to stability in
    business relationships. In that case a person who both knows of the contract and feels the
    injury should bring its damages action within four years of the contract's formation. In any
    event, one must distinguish between terminated dealers and newcomers. Suppose that a
    supplier requires tying of its products and refuses to sell to a dealer unwilling to accept the
    tied product. Under many of the decisions that second dealer would have only four years to
    bring its suit after the termination became final. However, a newcomer wishing to be a dealer
    in the manufacturer's good would have no occasion for asserting an antitrust claim until a
    request was made to distribute the tying good but not the tied good.
    The cause of action from an unlawful termination of relationships usually accrues at the time
    that a cancellation notice destroys or significantly reduces the value of a franchise contract.
     54 However, some courts have reasoned that a mere notice of cancellation lacks legal

    significance until the would-be buyer places an order that the supplier refuses. 55 Although
    no categorical rule can properly govern every case, the key date is that on which the

deal becomes a final act only when it "completely and permanently" excludes the plaintiff); Telecomm Technical Servs., Inc. v.
Siemens Rolm Commc'ns, Inc. , 66 F. Supp. 2d 1306 (N.D. Ga. 1998) (manufacturer's refusal to sell replacement parts to ISOs
not time-barred even though more than four years prior to filing, where manufacturer had led ISOs to believe that it would
reconsider its position and might change its mind); Western Shoe Gallery, Inc. v. Duty Free Shoppers, Ltd. , 593 F. Supp. 348
(N.D. Cal. 1984) (recurring boycotts restart statute).

51 See, e.g., Red Lion   , 63 F. Supp. 2d 1218; Telecomm Technical , 66 F. Supp. 2d 1306.

52 Driscoll v. City of New York    , 650 F. Supp. 1522 (S.D.N.Y. 1987) (denial of pier privileges in 1982 pursuant to a 1965
exclusive lease starts limitation period); KFC Corp. v. Marion-Kay Co. , 620 F. Supp. 1160 (S.D. Ind. 1985) (action on long-
term exclusive dealing contract not time-barred when contract remains in force; repeated refusals amount to continuing
violation); Woolen v. Surtran Taxicabs, Inc. , 461 F. Supp. 1025 (N.D. Tex. 1978) (statute restarts every time rival taxicabs
denied passengers because of municipality's illegal award of taxicab monopoly).

53 E.g., Twin City Sportservice, Inc. v. Charles O. Finley & Co.
                                                              , 512 F.2d 1264 (9th Cir. 1975), appeal after remand , 676 F.2d
1291 (9th Cir.), cert. denied , 459 U.S. 1009 (1982); Baker v. F & F Inv. , 420 F.2d 1191 (7th Cir.), cert. denied , 400 U.S.
821 (1970); Material Handling Indus., Inc. v. Eaton Corp. , 391 F. Supp. 977 (E.D. Va. 1975).

54 E.g., Emich Motors Corp. v. GM        , 229 F.2d 714 (7th Cir. 1956) (contract between automobile manufacturer and dealer
provided that dealer's right to receive new cars would terminate on receipt of first notice of intention to cancel).

55 Pioneer Co. v. Talon, Inc., 462 F.2d 1106 (8th Cir. 1972) (plaintiff had no formal contract with manufacturer or his distributor,
but merely placed orders on an individual basis); 2361 State Corp. v. Sealy, Inc. , 402 F.2d 370 (7th Cir. 1968).
               Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 17 of 45
                                                                                                                    Page 16 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    defendant's act causes sufficiently measurable injury. Thus, once the plaintiff has been
    injured by an illegal act, the limitation period begins running, even though the defendant
    continues in its refusal to deal. 56 Although a destroyed plaintiff might subsequently have
    reentered the business in the absence of the continuing violation, its damages would then be
    based not on its destruction more than four years earlier but on the profits that reentry would
    have generated. 57
    Finally, many of the cases distinguish between the injuries that result from the mere
    imposition of an unlawful arrangement and the injuries that result from discipline for violating
    the arrangement. For example, suppose a franchisor unlawfully requires franchisees to take
    a tied product as a condition of obtaining its franchise. One franchise continues under this
    arrangement for many years, then stops taking the franchisor's tied product and is terminated
    as a result. The statute of limitation on the termination ordinarily begins to run when the
    termination occurs, notwithstanding that the unlawful rule leading up to the termination was
    in place for many years before. 58
    While the cases are not consistent, they are significantly more likely to restart the statute
    when the action complained of is conspiratorial rather than unilateral. For example, if a group
    of physicians act anticompetitively by repeatedly denying the plaintiff staff privileges at their
    hospital, 59 each new meeting is an unlawful act whether or not prior meetings were also
    unlawful.

    In Champagne Metals the Seventh Circuit held that the statute had not run on the
    plaintiff's claim that the plaintiff's rivals had pressured aluminum mills, who were third parties,
    not to supply aluminum to the plaintiff. 60 The court observed that by its nature coercive
    pressure placed on a third party to facilitate a boycott was not a one-time occurrence but
    rather required ongoing communication. 61


56 Hennegan    v. Pacifico Creative Serv., Inc. , 787 F.2d 1299, 1300-01 (9th Cir.), cert. denied , 479 U.S. 886 (1986)
(subsequent operation of illegal conspiracy restarts statute only if plaintiff remains in business and continues to be injured). See
also Yeager v. Waste Mgmt., Inc. , 1994 WL 761961, 1995-1 Trade Cas. P70,881 (N.D. Ohio Aug. 19, 1994) (when alleged
conspiracy of rivals to exclude plaintiff from market eventually forced sale of plaintiff's business, the sale itself could be the last
event starting limitation period, even though the last act of any defendant had been earlier; a subsequent decision found the
action barred, however, because even the sale had occurred more than four years prior to filing date. Yeager v. Waste Mgmt.,
Inc. , 1994 WL 761959, 1995-1 Trade Cas. P70,882 (N.D. Ohio Sept. 30, 1994)).

57 Fitzgerald v. General Dairies, Inc.   , 590 F.2d 874, 875 (10th Cir. 1979). Such a plaintiff must prove, of course, sufficient
preparation for reentry. See P349.

58 E.g., B. Sanfield, Inc. v. Finlay Fine Jewelry , 857 F. Supp. 1241, 1994-2 Trade Cas. P70,775 (July 12, 1994) (dealer could
challenge its recent termination flowing from unlawful tying arrangement created beyond limitation period).

59 E.g., Vincent v. Reynolds Mem'l Hosp., Inc.      , 881 F.2d 1070, 1989 WL 87633, 1989-2 Trade Cas. P68,681 (4th Cir. July 25,
1989) (unpublished).

60 Champagne Metals v. Ken-Mac Metals, Inc.         , 458 F.3d 1073 (10th Cir. 2006).

61 See id.   at 1089: [H]ere, the agreeing parties' initial decision did require further action. The subsequent actions (contacting
and pressuring the mills when those mills were considering recognizing Champagne) were both "distinct from the act[ ] outside
the limitations period" (the agreement to effect a boycott) and a "continu[ation] [of] the same conspiracy." The Established
Distributors did not simply sit back and watch as the "unabated inertial consequences" of their (alleged) anticompetitive
agreement harmed Champagne; rather, their actions within the limitations period "manifest[ed] a commitment to renewing" and
                  Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 18 of 45
                                                                                                               Page 17 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    Because the Robinson-Patman Act requires actual sales, 62 cases generally start the
    statute of limitation from the date of the last discriminatory transaction. 63 Both high-and the
    low-priced sales are necessary to create a price "discrimination" under the statute, so there
    is no violation until the last sale has occurred. One qualification is that for long-term contracts
    that set the discriminatory prices, the contract date rather than the sale date governs. 64
    Suppose that a manufacturer enters ten-year contracts to sell widgets to A at a 10 percent
    discount from the list price and to competing dealer B at a 20 percent discount from list.
    Sales pursuant to these contracts create an ongoing discrimination, but in each case the
    discrimination "relates back" to the date the contracts were formed when the decision to
    discriminate was implemented. On roughly analogous facts the Grand Rapids Plastics
    court barred an action filed more than four years after the contracts were formed. 65 The
    subsequent sales under the contracts were not "new and independent" acts; they were
    merely "a reaffirmation of a previous act"-namely the formation of the discriminatory
    contracts.

    320c4.

     Monopolization; single versus ongoing exclusionary practices .
    By contrast to the above situations, consider discrete or ongoing exclusionary practices said
    to constitute unlawful monopolization or attempt to monopolize. If monopolization is
    successful, the resulting higher prices could last for many years, although in other cases the
    monopolization may be of short duration. In the typical attempt case, the monopoly never
    materializes or is short-lived. Once the monopoly has been attained, the monopolist's setting
    of its own prices is a unilateral act, and even the monopolist is free to set its own prices. 66
    In both monopolization and attempt cases the exclusionary practices could consist of a
    single act, such as the monopoly created by a wrongful patent infringement suit 67 or a finite

enforcing that agreement .... (Citing an earlier version of this Paragraph; citations to record omitted.) The court followed the
reasoning in the Ninth Circuit's Hennegan decision, 787 F.2d 1299. Champagne Metals , 458 F.3d at 1091: As in
 Hennegan , the initial alleged decision to boycott Champagne did not-and could not-"immediately and permanently destroy"
Champagne's business. Champagne did not seek aluminum from the Established Distributors but rather from the mills. The
Established Distributors' initial boycott decision simply could not "completely and permanently exclude[ ]" Champagne from the
market. Rather, the Established Distributors allegedly attempted to further their conspiracy by engaging in subsequent overt
acts- i.e. , threatening and pressuring those mills that were considering recognizing Champagne. Therefore, the continuing
conspiracy exception applies-the Established Distributors allegedly engaged in "new and independent act[s]" by threatening and
pressuring the mills and these acts "inflict[ed] new and accumulating injury" on Champagne by causing it to be denied access to
needed inputs.
62 See   P2312.

63 See, e.g., National Distillers & Chem. Corp. v. Brad's Mach. Prods., Inc., 666 F.2d 492 (11th Cir. 1982); Hoover Color Corp.
v. Bayer Corp. , 24 F. Supp. 2d 571, 573 & n.3 (W.D. Va. 1998), rev'd , 199 F.3d 160 (4th Cir. 1999), cert. denied , 530 U.S.
1204 (2000) (limiting damages to sales within four years prior to filing). See also Olympia Co. v. Celotex Corp. , 597 F. Supp.
285, 295 (E.D. La. 1984), aff'd , 771 F.2d 888 (5th Cir. 1985), cert. denied , 493 U.S. 818 (1989) (dicta); Chatham Brass
Co. v. Honeywell, Inc. , 512 F. Supp. 108 (S.D.N.Y. 1981).
64 Thecontracting date also generally governs the determination whether two sales are sufficiently contemporaneous for
purposes of the Act. See P2313.

65 Grand Rapids Plastics, Inc. v. Lakian   , 188 F.3d 401, 405-06 (6th Cir. 1999), cert. denied , 529 U.S. 1037 (2000).

66 See   P720.
                 Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 19 of 45
                                                                                                                   Page 18 of 44
                   Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    period of predatory pricing. 68 Or the practice could be something that is ongoing, such as
    the continuous or repeated refusal to sell aftermarket parts to rivals 69 or the repeated
    insistence on renting but not selling one's equipment. 70
    The courts consistently hold that if the monopoly is created by a single identifiable act and is
    not perpetuated by an ongoing policy, the statute of limitation runs from the time of
    commission of that act, notwithstanding that high prices may last indefinitely into the future.
    Thus, for example, the limitation period for monopolization by a wrongfully filed lawsuit runs
    from either the date the suit is filed or the date that the suit's defendant receives the process.
    That date is not continued by subsequent pleadings, motions, trial, and the like. 71 The
    "initiation of a lawsuit is the final, immutable act of enforcement of an allegedly illegal
    contract. ... All subsequent acts are controlled by the exigencies of litigation, not enforcement
    of the contract." 72 The court demanded "a new and independent act that is not merely a

67 See   P709.
68 See   7C.

69 Eastman Kodak Co. v. Image Technical Servs., Inc.      , 504 U.S. 451 (1992). See Creative Copier Servs. v. Xerox Corp. ,
2005 WL 2175138, 2005-2 Trade Cas. P74,929 (D. Conn. Sept. 2, 2005) (denying summary judgment to defendant claiming that
statute of limitation had run on Kodak -style refusal to deal).

70 E.g., Hanover Shoe, Inc. v. United Shoe Mach. Corp.  , 392 U.S. 481, 502 n.15 (1968); United States v. United Shoe Mach.
Co ., 110 F. Supp. 295, 340-41 (D. Mass. 1953), aff'd per curiam , 347 U.S. 521 (1954).

71 Pace Indus., Inc. v. Three Phoenix Co.     , 813 F.2d 234, 237 (9th Cir. 1987). See also Al George, Inc. v. Envirotech Corp. ,
939 F.2d 1271 (5th Cir. 1991) (last overt act on allegedly wrongful patent infringement suit was the filing of the suit itself); Chest
Hill Co. v. Guttman , 1981 WL 2160, 1981-2 Trade Cas. P64,417 (S.D. Ohio May 29, 1981) (same). See also B.V.
OptischeIndustrie de Oude Delft v. Hologic, Inc. , 909 F. Supp. 162 (S.D.N.Y. 1995) (limitation period on allegedly improperly
brought patent infringement suit began to run when process was served and the duty to defend thus arose, not when the
complaint itself was filed); Northern Tr. Co. v. Ralston Purina Co. , 1994 WL 605743, 1995-1 Trade Cas. P70,874 (N.D. Ill.
Nov. 3, 1994) (statute of limitation on claim of fraudulently brought patent infringement suit began to run when the infringement
suit was settled, more than four years before current claim was brought). See also Relafen Antitrust Litig. , 286 F. Supp. 2d 56
(D. Mass. 2003) (statute of limitation on claim that patent infringement suit was a "sham" and antitrust violation began to run on
date the infringement suit was filed; however, insofar as some damages resulting from the suit may have been speculative, the
statute would be tolled: [W]hen Smithkline filed suit it was entirely speculative whether any damages would flow because no
generic-producing competitor had yet received FDA approval. In other words, whether purchasers might some day be injured
because the FDA's thirty-month stay would prevent generic competitors from entering the relevant market depends on whether
the FDA itself would even approve such competitors, which was unknown at the time the suit was filed. It would have been
entirely speculative in early 1998 to determine how a less competitive market would lead to injuries to purchasers because it
would require one to speculate as to whether there would be any competitors. Id. at 63. Clearly, for example, if an
infringement defendant lacked standing to sue an infringement plaintiff for an antitrust violation, then the statute of limitation
could not have been running during the time standing was lacking.). Contrast Molecular Diagnostics Labs. v. Hoffmann-La
Roche Inc. , 402 F. Supp. 2d 276 (D.D.C. 2005) (criticizing and distinguishing Relafen , in cases where the plaintiffs are
purchasers rather than competitors; in a competitor case the lawsuit itself is the injury; but in a consumer case it is the
subsequent period of higher prices: Although the business of a monopolist's rival may be injured at the time the anticompetitive
conduct occurs, a purchaser, by contrast, is not harmed until the monopolist actually exercises its illicit power to extract an
excessive price ....So long as a monopolist continues to use the power it has gained illicitly to overcharge its customers, it has no
claim on the repose that a statute of limitations is intended to provide. Thus, in this setting, as in "the context of a continuing
conspiracy to violate the antitrust laws ... each time a plaintiff is injured by an act of the defendants a cause of action accrues to
him to recover the damages caused by that act ....As to those damages, the statute of limitations runs from the commission of
the act." Id. at 286, quoting Berkey Photo Inc. v. Eastman Kodak Co. , 603 F.2d 263, 295 (2d Cir. 1979), cert. denied , 444
U.S. 1093, which was in turn quoting Zenith Radio Corp. v. Hazeltine Research, Inc. , 401 U.S. 321 (1971).). Cf. Weber v.
Consumer's Digest, Inc. , 440 F.2d 729 (7th Cir. 1971) (suit to enforce allegedly unlawful noncompetition agreement is overt act
starting statute).
                    Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 20 of 45
                                                                                                                 Page 19 of 44
                      Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

      reaffirmation of a previous act" and that inflicts "new and accumulating injury on the plaintiff."
         73


      One complicating factor is the Supreme Court's Professional Real Estate (PRE) decision,
      which declared that a successful suit cannot be a "sham," and thus cannot be the basis of an
      antitrust violation. 74 At least one lower court has interpreted this to mean that the existence
      of an antitrust violation cannot be determined until after the litigation plaintiff (subsequently,
      the antitrust defendant) loses the suit on the merits. 75 However, the PRE court did not
      say that the ex post determination that a suit is unfounded is necessary to establish the
      sham, but only that an ex post determination that a suit is meritorious defeats a sham. Many
      nonmeritorious lawsuits intended to burden weak rivals probably never result in any finding
      on the merits at all; they result only the infringement defendant's abandonment of its
      marketing or entry plans. Further, a sham requires not merely that the plaintiff lose its lawsuit
      but that the lawsuit be so bad that a reasonable plaintiff would not have pursued it. 76

      Reasoning roughly similar to that applied in the infringement suits also dated a claim that the
      defendant monopolized by obtaining a patent fraudulently from the last overt act in the patent
      application process rather than from subsequent use of the patent or failure to notify officials
      of the invalidity. 77 Of course, a rival cannot reasonably be expected to know of every patent
      that exists but has not been claimed against it, and it certainly cannot be expected to know
      the details about any infirmities in the patent application process. In Wolf the claim of fraud
      before the patent office was based on the patentee's failure to disclose prior art to the
      examiner. However, the prior art issue had been publicized in previous litigation involving the
      same patent although not the same plaintiff, and the court found this sufficient to start the
      statute of limitation. 78
      Further, infringement suits are sometimes lost because the court finds that the patent was
      obtained fraudulently or by inequitable conduct. In such a case a ruling that the last act
      establishing a violation is the fraudulent conduct seems inconsistent with a ruling



72 Pace   , 813 F.2d at 238. The court rejected the contention that antitrust damages would be based on the costs of defending
the earlier suit, which would not be known until that suit was concluded. The court also doubted the merits of the plaintiff's claim
and was disturbed by the plaintiff's failure to attack the original suit directly via a counterclaim.

73   Ibid .

74 Professional Real Estate Investors v. Columbia Pictures Indus.   , 508 U.S. 49 (1993) ( PRE ); and see 205b.

75 Chemi SpA v. GlaxoSmithKline       , 356 F. Supp. 2d 495 (E.D. Pa. 2005) (statute did not run on claim that antitrust defendant
brought fraudulent patent infringement suit even though the suit had been brought nearly seven years before antitrust claim was
filed; statute began to run when the patent was declared invalid and unenforceable; citing PRE , 508 U.S. 49, for proposition
that no antitrust violation exists unless the IP right has been declared invalid; "an antitrust claim based on baseless litigation
requires proof that the litigation was unsuccessful, which can only be determined upon the termination of the initial action."
 ChemiSpA , 356 F. Supp. 2d at 500, citing Herbert Hovenkamp, Mark D. Janis, & Mark A. Lemley, IP and Antitrust §11.1 (2001
& Supp. 2006).
76 See    205b, 205d.

77 Wolf v. Wagner Spray Tech Corp.    , 715 F. Supp. 504 (S.D.N.Y. 1989).

78 Id.    at 507.
                     Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 21 of 45
                                                                                                                     Page 20 of 44
                       Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

     commencing the statute of limitation when the infringement action is filed. Finally, and
     perhaps most important, fraud before the patent office does not injure any private party in the
     antitrust sense until the patent is asserted or at least threatened against that person or firm.

     In Hanover Shoe 79 the act of monopolization was the defendant's refusal to sell its shoe-
     manufacturing machinery and insistence on leasing it. The court treated this as an ongoing
     act of maintaining an improper monopoly and held that each refusal to sell started the statute
     of limitation anew. 80

     In the Second Circuit's important Berkey Photo decision, the plaintiff had brought one
     portion of its suit as a purchaser of Kodak's film and color paper. 81 The conduct that had
     allegedly created monopolies in the products had occurred more than four years prior to the
     lawsuit, but high prices did not result until long thereafter. First, the court rejected the district
     court's conclusion that the statute of limitation began to run from the occurrence of the
     exclusionary practices alleged to create the monopoly. 82 The court then noted this
     difference between competitor and purchaser lawsuits challenging a monopoly:
          Although the business of a monopolist's rival may be injured at the time the
          anticompetitive conduct occurs, a purchaser, by contrast, is not harmed until the
          monopolist actually exercises its illicit power to extract an excessive price. The case of
          predatory pricing illustrates the point clearly. As soon as the dominant firm commences
          such a policy, other producers, who may be driven out of the market, are injured. But,
          clearly, purchasers are not, for they receive the temporary boon of artificially low prices. It
          is only when the monopolist, having devoured its smaller rivals, enjoys the spoils of its
          conquest by boosting its price to excessive levels that a purchaser "feels the adverse
          impact" of the violation. And if the monopolist never consummates its scheme by taking
          this final step, the purchaser has no cause of action. 83
     But the court also added the following:
          So long as a monopolist continues to use the power it has gained illicitly to overcharge its
          customers, it has no claim on the repose that a statute of limitations is intended to
          provide. Thus, in this setting, as in "the context of a continuing conspiracy to violate the
          antitrust laws ... each time a plaintiff is injured by an act of the defendants a cause of


79 Hanover Shoe, Inc. v. United Shoe Mach. Corp.       , 392 U.S. 481, 502 n.15 (1968).

80 See also Xechem, Inc. v. Bristol-Myers Squibb Co.          , 372 F.3d 899, 902 (7th Cir. 2004) (plaintiff alleged that defendant's
repeated re-filings of "orange book" extensions of its pharmaceutical patent, thus delaying plaintiff's generic entry, violated
antitrust laws; assuming that each re-filing caused new injury, each one started the statute of limitation anew; "[T]hat it may be
too late to complain in 2003 about what Bristol-Myers did in 1997 does not imply that it is too late to complain about what it did in
2000 or 2002; improperly prolonging a monopoly is as much an offense against the Sherman Act as is wrongfully acquiring
market power in the first place"); Meijer, Inc. v. 3M , 2005 WL 1660188, 2005-2 Trade Cas. P74,882 (E.D. Pa. July 13, 2005)
(repeated use of unlawful package discounts started limitation period anew). Cf. Mir v. Little Co. of Mary Hosp. , 844 F.2d 646
(9th Cir. 1988) (antitrust defendant's prior defense of plaintiff's state court complaint against denial of hospital staff privileges was
not itself part of the alleged violation and thus did not restart the limitation period).

81 Berkey Photo, Inc. v. Eastman Kodak Co.      , 603 F.2d 263 (2d Cir. 1979), cert. denied , 444 U.S. 1093 (1980).

82 Id.     at 295.

83 Ibid.
                 Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 22 of 45
                                                                                                                  Page 21 of 44
                     Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

         action accrues to him to recover the damages caused by that act ....[A]s to those
         damages, the statute of limitations runs from the commission of the act." 84
     That language appears to conflict with numerous decisions of other circuits holding that a
     "continuing violation" tolls the statute of limitation only if the acts that are alleged to continue
     the violation are sufficiently independent of the initial unlawful act. The monopolist's simple
     charging of its profit-maximizing price is a naturally expected consequence of monopoly and
     can hardly be said to be independent. But the court also added this limiting language:
         Plainly, at the time a monopolist commits anticompetitive conduct it is entirely speculative
         how much damage that action will cause its purchasers in the future. Indeed, some of the
         buyers who will later feel the brunt of the violation may not even be in existence at the
         time. Not until the monopolist actually sets an inflated price and its customers determine
         the amount of their purchases can a reasonable estimate be made. The purchaser's
         cause of action, therefore, accrues only on the date damages are "suffered".... 85
     In sum, then,
           (1) When the monopolist creates its monopoly by a single discrete act injuring rivals, the
               statute runs against the injured rivals from the time the act is committed.
                (2) When the monopolist creates its monopoly by a series of repeated or reasserted
                acts designed to maintain its monopoly, the statute of limitation is restarted provided
                that the subsequent acts fall within the definition of "independent" predicate acts, as
                given above. An example might be the defendant who repeatedly leases and re-
                leases its equipment, continually refusing to sell it; 86 or the firm that engages in
                repeated bouts of predatory pricing in order to discipline a rival.
        (3) Customers of the monopolist are not injured until after the monopolist causes them
            injury through higher prices, which may occur later than the exclusionary practices
            creating the monopoly. For example, competitors are injured immediately by
            predatory pricing, but customers would not be injured until much later, when the
            predation has done its work and the monopolist raises its price. Once customers have
            reason to know of the violation and their damages are sufficiently ascertainable to
            justify an antitrust action, the statute begins to run against them. When a §2 action is
            filed in a timely fashion, the customer will be able to collect damages for the four
            years prior to filing and will be able to rely on pre-limitation conduct in order to
            establish the exclusionary practices portion of a monopolization claim.
     320c5.



84 Ibid.   , quoting Zenith Radio Corp. v. Hazeltine Research, Inc. , 401 U.S. 321, 338 (1971).

85 Ibid. The court later added: [A] purchaser suing a monopolist for overcharges paid within the previous four years may satisfy
the conduct prerequisite to recovery by pointing to anticompetitive actions taken before the limitations period. It should not be
inferred that this ruling grants antitrust plaintiffs a license to embark on a search for Ichthyosauria-that is, on a time-warped
fishing expedition. A trial court in its discretion may always "set a reasonable cut-off date, evidence before which point is to be
considered too remote to have sufficient probative value to justify burdening the record with it."... Moreover, the trial court might
not be without flexibility to limit the proof where delay in bringing suit may have caused injustice to the defendants. Id. at 296,
citing P628 in a previous edition.

     86 E.g., Hanover Shoe, Inc. v. United Shoe Mach. Corp.    , 392 U.S. 481, 502 n.15 (1968).
                 Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 23 of 45
                                                                                                              Page 22 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

     Mergers .
    The limitation rule governing damage actions for unlawful mergers would be quite
    straightforward were it not for some dicta in a Supreme Court decision. First , §7 of the
    Clayton Act makes it unlawful to "acquire," and says nothing about the independent
    lawfulness of post-merger prices, even if they are monopolistic. Thus the merger is unlawful
    under §7 only if the acquisition itself is unlawful, and the acquisition is generally public and
    occurs on a reasonably certain date. Second , any "continuing violation" rule to the effect
    that each sale by the post-merger firm restarts the statute would leave mergers open to
    perpetual challenge. Clearly, Congress did not intend to exempt mergers from the antitrust
    statute of limitation. Antitrust policy generally regards mergers as efficient and thus
    condemns only a few, and the lines separating legal and illegal mergers are often indistinct.
     87 These policy reasons militate in favor of running the statute of limitation from the date that

    two firms come under the degree of control necessary to cause the competitive injury in
    question. 88 Offsetting this is that the statute of limitation accrues only when the plaintiff has
    a cause of action, which requires an injury. In that case the statute of limitation cannot run
    until the injury occurs.

     Third , if there is one clear case where a subsequent act is a mere "reaffirmation" rather
    than an "independent" predicate act, it is the ongoing sales of the post-merger firm. Every
    merger contemplates that the post-merger firm will continue to sell the product. To regard
    each sale as an independent predicate act thus deprives the notion of "independence" of all
    meaning. Indeed, subsequent sales are much more inherent in the merger than subsequent
    prosecution of a vexatious lawsuit. As noted before, the courts have rather consistently held
    that the statute runs from the filing of an improper lawsuit, notwithstanding that the plaintiff in
    that suit filed further pleadings, discovery requests, motions, and the like. 89 But many
    harassment suits end with the filing of an initial complaint, and each improper paper filed in
    an improper suit is independently sanctionable. 90 By contrast, it is hard to conceive of a
    merger that is not followed by subsequent sales.

    Limiting merger challenges to four years following acquisition would thus seem to be a
    foregone conclusion were it not for a few dicta in the Supreme Court's ITT decision. 91
    The issue was not the statute of limitation but rather the measurement of penalties for
    violation of a consent decree. ITT had violated a previously entered antitrust consent


87 See generally   WK-CHAP9.

88 See Midwestern Mach., Inc. v. Northwest Airlines, Inc.    , 167 F.3d 439, 442 n.3 (8th Cir. 1999) ( Midwest Mach. I ) (dicta;
statute of limitation will apply to damages action challenging merger of two airlines); accord Concord Boat Corp. v. Brunswick
Corp. , 207 F.3d 1039 (8th Cir.), cert. denied , 531 U.S. 979 (2000) (to the extent it is relevant, H.H. was consulted by the
defendant); Z Tech. Corp. v. Lubrizol Corp ., 2013 WL 440109 (E.D. Mich. Feb. 5, 2013) (limitation period on merger begins to
run from date of acquisition; rejecting argument that subsequent price increases reflected a way in which the defendant used the
acquired assets, restarting statute).

89 E.g., Pace Indus., Inc. v. Three Phoenix Co.   , 813 F.2d 234, 237 (9th Cir. 1987).
90 See   307e.

91 United States v. ITT Cont'l Baking Co. , 420 U.S. 223 (1975). See also United States v. Beatrice Foods Co. , 493 F.2d 1259
(8th Cir. 1974), cert. denied , 420 U.S. 961 (1975).
                 Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 24 of 45
                                                                                                                Page 23 of 44
                     Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

     decree preventing it from acquiring further wholesale bakeries during a specified time period.
     The relevant enforcement provisions 92 permitted a fine of up to $5,000 for each violation of
     a decree. The defendant insisted that the maximum fine for a merger in violation of the
     decree was $5,000, while the government believed that the maximum fine should be $5,000
     for each day that the acquired assets were improperly held. In siding with the government, a
     divided (5-4) Court relied mainly on the very sensible policy rationale that a $5,000 fine for
     each acquisition would be regarded by the defendant as nothing more than an "acceptable
     cost of violation, rather than as a deterrence to violation." 93 But the Court then added this
     rationale:

           We need not go beyond the Clayton Act itself to conclude that "acquisition" as used in §7
           of the Act means holding as well as obtaining assets. The Act provides that the FTC, if it
           finds a violation of §7, can require a party to "divest itself of the stock, or other share
           capital, or assets, held ... contrary to the provisions of §7." 15 U.S.C. §21(b). Thus, the
           framers of the Act did not regard the terms "acquire" and "acquisition" as unambiguously
           banning only the initial transaction or acquisition; rather, they read the ban against
           "acquisition" to include a ban against holding certain assets. 94

     The language can be read to indicate that the merging firm violates §7 as long as it "holds"
     the unlawfully acquired assets-thus keeping the statute of limitation open until four years
     after these assets are divested. But the Court was not speaking of the statute of limitation
     question, and its logic is not persuasive on that issue. The meaning of the statutory phrase
     that ITT quoted is that if the plaintiff makes a timely challenge to an unlawful merger
     within a reasonable period, then one available remedy is divestiture. Since divestiture is an
     equitable remedy, the statute of limitation would not apply in any event. 95 Further, the
     statutory provision that the ITT decision quoted authorizes only the FTC and a few other
     federal agencies to obtain the described relief. 96 Even if it served to extend the statute of
     limitation as to those agencies, it would not do so for a subsequent action by a private party.




92 15 U.S.C. §§21( l   ) (applying to government actions generally), 45( l ) (applying to FTC).

93 ITT   , 420 U.S. at 231.

94 Id.   at 240-41. The Court found support in its earlier decision in the DuPont (GM) case, which had permitted a government
challenge many years after an acquisition occurred. See United States v. E.I. DuPont de Nemours & Co. , 353 U.S. 586, 597
(1957), which concluded that the government might bring an action any time "the acquisition threatens to ripen into a prohibited
effect." But the facts in that case were that GM was a relatively small player in the automobile market at the time of the
acquisition but had become a dominant firm in the intervening years. As a result, the merger was very likely lawful if analyzed as
of the time it had occurred, but unlawful later. The situation would thus be analogous to one in which the post-merger firm did not
exact a price increase immediately following a merger, but rather ten years afterward. In that case, a plaintiff purchaser would
not be able to bring an action during the first ten years because it would have no injury. The statute would begin to run when the
post-merger price increase occurred. See ITT , 420 U.S. at 241-42.
95 See   320g.

96 The included agencies are the Surface Transportation Board (formerly Interstate Commerce Commission), Federal
Communications Commission, Secretary of Transportation, Federal Reserve System, and the Federal Trade Commission. See
 15 U.S.C. §21(a).
                  Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 25 of 45
                                                                                                                Page 24 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    The common law doctrine of adverse possession provides a good analogy to the
    "acquisition" versus "holding" problem. As in the ITT case, the person who enters and
    occupies property wrongfully is guilty of a trespass not merely on the day that he enters, but
    also each day thereafter that he wrongfully occupies the property. Further, if a trespass or
    quiet title action is brought within the limitation period, the intruder can be ousted. But once
    the intruder has occupied the property for the statutory period, the true owner's cause of
    action is lost. 97 The fact that each day of occupancy constitutes a trespass, and thus a
    violation, does not operate so as to toll the statute of limitation forever.
    A policy of restarting the limitation period each time the post-merger firm makes a sale would
    expose merged firms to an unlimited period of vulnerability to litigation. For example, one
    might challenge a 20-year-old merger on the theory that it continued to produce higher
    prices. The court would then have to consider not merely the merger's legality, but also the
    unmanageable question of whether any price above the competitive level 20 years later was
    caused by the merger or resulted from other factors. 98 These difficulties are precisely the
    reason that the statute of limitation exists.

    This result is confirmed by the Supreme Court's Rotella decision, which applied the
    Clayton Act statute of limitation in a RICO case. 99 The Supreme Court held that the statute
    of limitation ran on the plaintiff's RICO claim from the time he discovered his injury, even
    though a "pattern" of corrupt practices existed that stretched far into the future. The Court
    observed:
         A pattern discovery rule would allow proof of a defendant's acts even more remote from
         time of trial and, hence, litigation even more at odds with the basic policies of all
         limitations provisions: repose, elimination of stale claims, and certainty about a plaintiff's
         opportunity for recovery and a defendant's potential liabilities. 100

    In Concord Boat the Eighth Circuit held that the statute of limitation on a merger
    presumably began to run at the time the merger occurred. 101 However, two things might
    serve to delay the running of the statute. First, as developed below, 102 if the merger caused
    the plaintiffs no immediate injury, then the statute would not run until quantifiable injury
    began. Second, while the ongoing holding or use of an unlawfully acquired asset might be a
    "continuing violation," 103 mere sales by the post-merger firm were insufficient to qualify as


97 See, e.g., Jarvis v. Gillespie   , 155 Vt. 633, 587 A.2d 981 (1991).

98 See Midwestern Mach., Inc. v. Northwest Airlines, Inc.      , 167 F.3d 439, 442 n.3 (8th Cir. 1999) ( Midwest Mach. I ) (noting
problem of proving causation from a stale merger).

99 See Rotella v. Wood    , 528 U.S. 549 (2000). See also Mathews v. Kidder, Peabody & Co. , 260 F.3d 239 (3d Cir. 2001)
(applying antitrust analogies in determining that RICO statute of limitation had run).

100 Rotella , 528 U.S. at 555. See also Forbes v. Eagleson , 228 F.3d 471 (3d Cir. 2000), cert. denied , 533 U.S. 929 (2001)
(applying Clayton Act statute of limitation in RICO case: adopting "injury discovery" rule under which statute of limitation begins
to run when the plaintiffs "knew or should have known of their injury").

101 Concord Boat Corp. v. Brunswick Corp.    , 207 F.3d 1039 (8th Cir.), cert. denied , 531 U.S. 979 (2000). The merger was
characterized by the court as "noted throughout the boating industry" at the time it occurred. Id. at 1045, 1051.
102 See   320d.
                  Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 26 of 45
                                                                                                                    Page 25 of 44
                     Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

     an anticompetitive holding. Making post-merger purchases or sales the basis for a
     "continuing violation" exception would effectively abolish the statute of limitation for merger.
     Virtually every firm contemplates that its merger will result in ongoing sales. Rather, a
     continuing violation occurs when the defendant uses the merger in a way that is not inherent
     in the acquisition itself. For example, suppose that a merger gave a firm the structural power
     to engage in predatory pricing. 104 A damages action challenging such a merger would fail
     as long as predation were merely possible or even likely. 105 As a result, the statute of
     limitation would not run on such a damage claim. However, once unlawful predation began
     and the plaintiff could show that the merger facilitated the predation, then the statute of
     limitation would not bar a challenge to the merger itself, in addition to the predatory pricing
     suit. In the present case, however, the defendant became the provider of motors to the
     acquired firms from the date of the merger, and this foreclosure was the basis of the claimed
     injury, so there was no occasion to extend the statute.

     In Midwestern Machinery II the Eighth Circuit both restated and refined its earlier holdings.
      106 In this case the plaintiff had filed suit some seven years after the acquisition but

     maintained that the statute should be tolled for several reasons. The first was that the
     defendant's merger had given it a dominant position in the Milwaukee-St. Paul airport hub,
     and that it used this dominance to engage in exclusionary practices. Each of these practices,
     it asserted, was a "continuing violation" that served to restart the statute. 107 The court
     noted that, while continuing violations can serve to prolong the statute, the theory had never
     been applied to a Clayton §7 claim. Rather, it was generally applied to Sherman §1
     conspiracy claims, where new actions are needed to keep the conspiracy going. But where
     subsequent actions are merely the "unabated inertial" consequences of the original act, the
     statute of limitation continues to run. 108 The court found a well-established distinction in the
     case law between
         "new and independent act[s] that ... inflict new and accumulating injury on the plaintiff"
         (which restart the statute of limitations), and unabated inertial consequences of previous




103 Concord Boat    , 207 F.3d at 1052.
104 See   7C-2.

105 See 348b ; and see Cargill, Inc. v. Monfort of Colo., Inc. , 479 U.S. 104 (1986) (to the extent it is relevant, P.A. was
consulted by the defendant).

106 Midwestern Mach. Co., Inc. v. Northwest Airlines, Inc.   , 392 F.3d 265 (8th Cir. 2004) ( Midwest Mach. II ).

107 Id.   at 269. On continuing violations, see 320b.

108 Midwestern Mach. II  , 392 F.3d at 270, quoting Concord Boat , 207 F.3d at 1052, which was in turn quoting DXS, Inc. v.
Siemens Med. Sys., Inc. , 100 F.3d 462, 467-68 (6th Cir. 1996); and citing 320c4. As the court later explained: Even if the
merger itself was unlawful, the continued existence of the merged entity is not a continuing violation: It is simply the natural
unabated inertial consequence of the merger. Conducting business is presupposed by the merger itself. Selling goods and
services and responding to potential competition by lowering prices (aside from predatory pricing practices that may violate §2 of
the Sherman Act) or increasing product to quality are the very things that competitive firms, merged or not, are encouraged to do
to provide consumers with high quality products at the lowest prices. Midwestern Mach. II , 392 F.3d at 271.
                  Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 27 of 45
                                                                                                               Page 26 of 44
                      Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

         acts (which do not) allow[ ] the statute of limitations to have effect and discourage[ ]
         private parties from sleeping on their rights. 109
     Applying this rationale to Clayton §7, the court concluded:
         If the initial violation was the merger itself, none of the "continuing violations" Midwestern
         alleges can justify restarting the statute of limitations because these acts were not
         undertaken to further an illegal policy of merger or to maintain the merger. Otherwise,
         every business decision could qualify as a continuing violation to restart the statute of
         limitations as long as the firm continued to desire to be merged. Once the merger is
         completed, the plan to merge is completed and no overt acts can be undertaken to
         further that plan. 110
     That reasoning appears to be that a merger might create a dominant position and permit a
     firm to engage in exclusionary practices. But these practices would then be independent
     violations of §2 of the Sherman Act, not "continuing violations" of the law against mergers,
     which prohibits only acquisitions. "Unlike a conspiracy or the maintaining of a monopoly, a
     merger is a discrete act, not an ongoing scheme." 111 As the court noted, applying the
     plaintiff's rationale could make a firm answerable for mergers almost indefinitely, if it
     subsequently engaged in a practice that could somehow be tied to the merger as a structural
     predicate. As the court explained:
         Admittedly, a pro-competitive merger and an anti-competitive one are hard to discern
         from each other, but exposing a firm to perpetual liability under the Clayton Act simply
         because its business history includes a merger would chill pro-competitive business
         combinations. Finding that a continuing violation theory does not apply to §7 does not
         give a "green light" to monopolists, as Midwestern claims, because merged firms, like all
         firms, are still subject to the Sherman Act's prohibitions on monopolization or attempts to
         monopolize. 112
     Nevertheless, in such a case it is the acquisition that facilitates the exclusionary practice, and
     spinning off the acquired asset may be an appropriate remedy. Perhaps this problem is best
     addressed by considering the exclusionary practice independently under §2, and then the
     spinoff as part of the remedy, in which case the statute of limitation on the §7 claim would not
     be relevant. Even then, there could be cases in which the exclusionary practice is not
     independently actionable under §2 but the competitive harm results from the exclusion. In
     that case the statute should run from the date of the exclusionary act facilitated by the
     merger. In any event, while causation is usually difficult to establish for a price increase
     occurring many years after a merger, the same thing is not necessarily true of an
     exclusionary practice that involves use of the acquired asset.

     The plaintiff also alleged that the statute of limitation on the merger was tolled under a
     "holding and use" theory that the Supreme Court had appeared to endorse in the previously


109 Midwestern Mach. II    , 392 F.3d at 271, quoting Pace Indus., Inc. v. Three Phoenix Co. , 813 F.2d 234, 238 (9th Cir. 1987).

110 Ibid.


111 Id.     at 271.

112 Id.     at 272.
                  Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 28 of 45
                                                                                                                  Page 27 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

     discussed ITT decision. 113 Under this theory the holding and subsequent anticompetitive
     use of an acquired asset could restart the statute of limitation on the merger itself. The court
     also distinguished the DuPont case, which had permitted the government to challenge a
     merger several decades after it had occurred. However, in that case GM had only a
     negligible market share at the time of the acquisition and did not become a dominant player
     in the automobile market until many years later. 114 In the present case, by contrast, any
     anticompetitive threat from the Northwest-Republic airline merger would have been apparent
     immediately. 115

     The Eighth Circuit's resolution of this issue creates the superficially unsatisfactory situation
     that a merger whose competitive threat is reasonably predictable at the time of the
     acquisition is subject to a strict four-year limitation period from the date of the acquisition. By
     contrast, a merger that seems completely harmless at the date of the acquisition could be
     made subject to indefinite challenge if the firm should thereafter acquire a market position
     enabling exclusionary or other anticompetitive practices. In a case such as Steves , which
     raised the issue mainly under the doctrine of laches, 116 the harm was caused by a refusal
     to deal that occurred subsequent to the merger. 117 It bears repeating that a plaintiff does
     not have a cause of action, and as a result the statute does not run, until it has suffered
     actionable injury. Thus while the rule tying the statute of limitation in merger cases to the
     date of the merger is strong, it must nevertheless be regarded as presumptive.

      Steves aside, in most cases causation or injury caused by the merger would be impossible
     to establish after a long period of time had elapsed. But it is hard to justify a policy making
     plainly beneficial mergers subject to challenge for a longer time than mergers that plausibly
     threaten competition at the time they occur.

     Perhaps for this reason the Midwestern Machinery court added the requirement that
     someone seeking to toll the statute under a "holding and use" theory must also show that the
     acquired assets were being used in a different way at the time of the challenge than was
     initially contemplated at the time of the merger, and that this new use was the one that
     injured the plaintiff. 118 This theory also seems implicit in existing nonmerger case law. The
     plaintiff who has not suffered any injury has no cause of action, and thus the statute does not


113 Id.
      at 272-73, citing United States v. ITT Cont'l Baking Co. , 420 U.S. 223, 240 (1975); and United States v. DuPont de
Nemours & Co. , 353 U.S. 586 (1957).

114 As the court noted, the issue inDuPont was not the running of the statute of limitation, which does not run in an equity
action, but rather whether substantive illegality under §7 could be based on post-merger changes in market position. See
P1205.

115 See the dissent,   Midwestern Mach. II , 392 F.3d at 278-79.
116 See   320g.

117 Steves & Son, Inc. v. JELD-WEN, Inc    ., 988 F.3d 690 (4th Cir. 2021).

118 Midwestern Mach. II    , 392 F.3d at 273: [T]he statute of limitations must begin to run at some point in order for the time bar
to have any effect and to give repose to merged firms. If assets are used in a different manner from the way that they were used
when the initial acquisition occurred, and that new use injures the plaintiff, he or she has four years from the time that the injury
occurs to sue.
                  Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 29 of 45
                                                                                                            Page 28 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

     run. 119 A cause of action accrues, and thus the statute of limitation begins to run only when
     the plaintiff suffers an injury recognized by §4 of the Clayton Act. 120
     Finally, the court rejected the plaintiff's argument that the statute of limitation should be tolled
     because the plaintiff's damages were only speculative at the time of the merger but had
     become sufficiently certain only in later years. 121 In brief, the plaintiff did not claim that it did
     not suffer any damages at the time of the merger. Rather, it believed that it subsequently
     suffered damages that were not foreseeable at the time the merger occurred. As the court
     noted, however, if the plaintiff had filed a timely suit and obtained equitable relief, these
     future damages would not have occurred at all:
         Injuries caused by a merger, of course, might not materialize until after the four-year
         limitation period has expired. In that case, the plaintiff has not been injured yet, and the
         statute of limitations does not begin to run until the plaintiff suffers injury. But where the
         plaintiff's injury is immediate (as Midwestern's was according to the class
         representatives), the statute of limitations begins to run at that time. The limitations
         period begins when "present or future damages become definite enough to support a
         recovery." The total extent of the alleged damages, including future damages, was
         unknown at that time, but damages that could be claimed existed. Midwestern, had it
         filed suit during the four years following the merger, would have been able to recover the
         damages it had already suffered if the court found that Northwest's merger with Republic
         violated the Clayton Act. 122

     In brief, under the Eighth Circuit ruling, the statute of limitation ordinarily runs on a merger
     from the date of acquisition. It might not run if the merger is not anticompetitive at all at the
     time of the acquisition, thus producing no cause of action, but the post-merger firm
     subsequently acquires the ability to engage in anticompetitive practices, and this ability
     can be causally linked to the merger. Second, the statute might not be tolled if the merger
     caused the plaintiff no injury at the time it occurred, but subsequently the acquired assets
     were used in an anticompetitive way not contemplated at the time of the acquisition and
     caused the plaintiff injury. Once again, this subsequent and new use must be causally linked
     to the merger.

     320c6.

      Limitation on damages rather than cause of action .

     Even in the case of the continuing conspiracy or violation, where the defendants violate the
     law repeatedly by continuing in a bid-rigging or similar scheme, plaintiffs are ordinarily limited


119 See   320b.

120 The court also rejected the plaintiff's argument that "market power" acquired by a merger could be an "asset" within the

meaning of §7 of the Clayton Act. Midwestern Mach. II , 392 F.3d at 273. In any event, the plaintiff did not show that
Northwest's market power was used any differently in subsequent years than had been contemplated at the time of the merger.

121 Id.   at 274-75. On speculative damages tolling the statute, see 320d.

122 Midwestern Mach. II  , 392 F.2d at 276, citing Concord Boat     Corp. v. Brunswick Corp. , 207 F.3d 1039, 1051 (8th Cir.),
cert. denied , 531 U.S. 979 (2000), and quoting 320d.
                Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 30 of 45
                                                                                                                   Page 29 of 44
                     Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    to damages for the four years immediately preceding the filing of their lawsuit. 123 The
    Supreme Court's Klehr decision discussed in 320c7 makes this clear. By the same token,
    where it is difficult to pinpoint which recent acts implementing an unlawful conspiracy caused
    which damages, the plaintiff has been allowed to recover all damages occurring during the
    four years preceding suit. 124 Of course, if the damages all occurred more than four years
    earlier, the plaintiff is time-barred notwithstanding continuation of the defendant's violation.
     125


    320c7.

     Continuing actions but no additional injury; Klehr decision .

    In Klehr the Supreme Court considered the application of the Clayton Act's statute of
    limitation to allegedly continuing violations. 126 While the substantive claim was under the
    Racketeer Influenced and Corrupt Organization Act (RICO), 127 the Supreme Court had
    previously held that this statute incorporated the federal antitrust limitation provision for
    damage actions. 128 In this case the basis of the substantive claim was alleged
    misrepresentation of a defective product. The defendant had sold the plaintiffs a silo
    advertised to limit the contact of silage with oxygen, thus reducing mold. That sale was in
    1974, but the defective product claim was not filed until 1993, nearly 20 years later.
    However, the plaintiffs alleged that misrepresentations about the silo had been made not
    only at the time it was sold, but on an ongoing basis many times thereafter, when they had
    been assured by the seller that the silo was operating as intended. Further, the parts of the
    silo where the growing mold could be observed bore a warning "Danger: Not Enough
    Oxygen to Support Life." 129 As a result, the Klehrs were warned away from inspecting
    those parts of the silo that might have revealed an abundance of mold contaminating the
    feed and injuring the plaintiffs' cattle. This, the plaintiffs alleged, amounted to fraudulent



123 See Johnson v. Nyack Hosp.       , 891 F. Supp. 155, 162 & n.5 (S.D.N.Y. 1995), aff'd , 86 F.3d 8 (2d Cir. 1996) (contrasting
limitation provisions of antitrust and civil rights statutes; under latter, the existence of a continuous practice and policy of
discrimination delays the commencement of the statutory period-for example, if one continuously refused to deal on the account
of race; by contrast, in antitrust, each refusal or act in furtherance of the wrongful scheme "begins a new limitations period but
does not reach back to render timely claims based on acts outside the statutory limitation period").

124 Hoopes v. Union Oil Co.     , 374 F.2d 480, 486 (9th Cir. 1967) (that operative force of restrictive "lease-leaseback" agreements
terminated prior to statutory period did not bar claim based on wider course of conduct, including acts that continued beyond
filing of complaint, designed to preclude plaintiff from selling or leasing retail station free of exclusive dealing condition); Delta
Theaters, Inc. v. Paramount Pictures, Inc. , 158 F. Supp. 644 (E.D. La.), appeal dismissed , 259 F.2d 563 (5th Cir. 1958)
(conspiracy limiting availability of quality films to plaintiff).

125 E.g., Baldwin v. Loew's, Inc. , 312 F.2d 387 (7th Cir. 1963) (limitation period ran from unfavorable lease executed as a result
of defendant's conspiracy, not from later renewal under that lease).

126 Klehr v. A.O. Smith Corp.    , 521 U.S. 179 (1997).

127 18 U.S.C. §§1961-1968.



128 Agency Holding Corp. v. Malley-Duff & Assocs., Inc.    , 483 U.S. 143, 156 (1987).

129 Klehr   , 521 U.S. at 184.
                Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 31 of 45
                                                                                                             Page 30 of 44
                     Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

     concealment. The Circuit Court rejected those theories and found that the plaintiffs' claim
     had accrued some time in the 1970s. 130
     The accrual rule the plaintiffs wanted the Supreme Court to adopt was the Third Circuit's
     "last predicate act" rule, which stated that

         [if] as a part of the same pattern of racketeering activity, there is further injury to the
         plaintiff or further predicate acts occur ... the accrual period shall run from the time when
         the plaintiff knew or should have known of the last injury or the last predicate act which is
         part of the same pattern of racketeering activity. The last predicate act need not have
         resulted in injury to the plaintiff but must be part of the same "pattern." 131
     As the Supreme Court described the impact of this rule before rejecting it,
         as long as Harvestore [the defendant] committed one predicate act within the limitations
         period (i.e., the four years preceding suit), the Klehrs can recover, not just for any added
         harm caused them by that late-committed act, but for all the harm caused them by all the
         acts that make up the total "pattern." 132
     The Supreme Court's first criticism of the "last predicate act" rule was that it effectively
     created a significantly longer limitation period than Congress intended:
         Because a series of predicate acts (including acts occurring at up to 10-year intervals)
         can continue indefinitely, such an interpretation, in principle, lengthens the limitations
         period dramatically. It thereby conflicts with a basic objective-repose-that underlies
         limitations periods ....Indeed, the rule would permit plaintiffs who know of the defendant's
         pattern of activity simply to wait, "sleeping on their rights,"... as the pattern continues and
         treble damages accumulate, perhaps bringing suit only long after the "memories of
         witnesses have faded or evidence is lost." 133
     Second, the Court found the "last predicate act" rule to be
         inconsistent with the ordinary Clayton Act rule, applicable in private antitrust treble
         damage actions, under which "a cause of action accrues and the statute begins to run
         when a defendant commits an act that injures a plaintiff's business." 134
     However, the Court hastened to add:
            We do not say that a pure injury accrual rule always applies without modification in the
            civil RICO setting in the same way that it applies in traditional antitrust cases. For
            example, civil RICO requires not just a single act, but rather a "pattern" of acts. 135


130 Id.   at 185-86. See Klehr v. A.O. Smith Corp. , 87 F.3d 231 (8th Cir. 1996).

131 Keystone Ins. Co. v. Houghton    , 863 F.2d 1125, 1130 (3d Cir. 1988) (emphasis added).

132 Klehr   , 521 U.S. at 186-87.

133 Id.   at 187, citing and quoting numerous decisions.

134 Id. at 188, quoting Zenith Radio Corp. v. Hazeltine Research, Inc. , 401 U.S. 321, 338 (1971); and citing this Paragraph in
the previous edition and 1 Calvin W. Corman, Limitation of Actions §6.5.5.1, at 449 (1991).

135 Id.    at 188. However, the Supreme Court's subsequent decision in Rotella , 528 U.S. 549 (2000), largely eliminated the
plaintiff's ability to rely on subsequent acts constituting a "pattern" once its injury was known.
                  Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 32 of 45
                                                                                                            Page 31 of 44
                       Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

     The court then noted:
             The Clayton Act helps here because it makes clear precisely where, and how, the Third
             Circuit's rule goes too far. Antitrust law provides that, in the case of a "continuing
             violation," say, a price-fixing conspiracy that brings about a series of unlawfully high
             priced sales over a period of years, "each overt act that is part of the violation and that
             injures the plaintiff," e.g., each sale to the plaintiff, "starts the statutory period running
             again, regardless of the plaintiff's knowledge of the alleged illegality at much earlier
             times."... 136 But the commission of a separate new overt act generally does not permit
             the plaintiff to recover for the injury caused by old overt acts outside the limitations
             period. 137

     Thus, for example, suppose the defendants formed a price-fixing conspiracy and made their
     first sale to the plaintiff in 1985. The plaintiff later purchased from the same cartel in 1987,
     1989, and 1990. In 1992 it discovered the cartel and filed suit. The two propositions that
      Zenith makes clear are that (1) the statute of limitation does not run on the cartel and all its
     subsequent activities simply because the cartel was first formed in 1985, seven years before
     suit; however, (2) the plaintiff's damage claim will be limited to those acts of the cartel that
     both damaged the plaintiff and occurred within the four years prior to the suit. Thus the
     plaintiff will be able to recover for injury caused by the 1989 and 1990 sales, but not by the
     1985 and 1987 sales. Theoretically, at least, a "last predicate act" interpretation would place
     within the damage claim all sales dating back to 1985, for in this case the 1990 cartel sale is
     a predicate act of the 1985 cartel. But "the plaintiff cannot use an independent, new
     predicate act as a bootstrap to recover for injuries caused by other earlier predicate acts that
     took place outside the limitations period." 138
     The distinguishing feature of the case at bar was that while the defendants may have
     continued to make misrepresentations and publish misleading brochures about their
     allegedly defective silo, these subsequent misrepresentations differed from the ongoing
     cartel case in one important respect: they did not cause the plaintiffs any additional injury.
     They did not deal further with the defendant after purchasing their silo, and all of the defects
     causing the alleged injury were inherent in the silo as initially sold to them. 139

     320d.

     Damages speculative or not immediate; Zenith .
     The Clayton Act §4 damage action ordinarily accrues on the occurrence of conduct violating
     the antitrust laws and injuring the plaintiff. At that point, however, the plaintiff's damages
     might be too speculative to support any actual damage award. 140 Thus, a four-year period


136 Citing this Paragraph in an earlier edition;
                                              Zenith , 401 U.S. at 338; Hanover Shoe, Inc. v. United Shoe Mach. Corp. , 392
U.S. 481, 502 n.15 (1968); and lower court decisions.

137 Klehr     , 521 U.S. at 189-90, citing Zenith , 401 U.S. at 338.

138 Id.     at 190.

139 Ibid.: "as the Court of Appeals pointed out, [the plaintiffs] have not shown how any new act could have caused them harm
over and above the harm that the earlier acts caused," citing 87 F.3d 231, 239 (8th Cir. 1996).
                  Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 33 of 45
                                                                                                             Page 32 of 44
                     Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    beginning at the ordinary point might be partly or wholly exhausted before the plaintiff's
    damages became definite enough for any recovery. Starting the statute at a later time,
    however, requires the tribunal to speculate about when the damages became non-
    speculative.

    Without attending to that difficulty, the Supreme Court declared in Zenith ,
       In antitrust and treble-damage actions, refusal to award future profits as too speculative
       is equivalent to holding that no cause of action has yet accrued for any but those
       damages already suffered. In these instances, the cause of action for future damages, if
       they ever occur, will accrue only on the date they are suffered; thereafter the plaintiff may
       sue to recover them at any time within four years from the date they were inflicted. 141

    The Zenith language is somewhat obscure. It might start the limitation period running
    when (1) an illegal act inflicts damage (at least when the damage period has not entirely run
    out); or (2) provable damage occurs (perhaps long after future damages become adequately
    provable); or (3) present or future damages became definite enough to support a recovery.
     142 The first reading produces unacceptably arbitrary results where the damages occur or

    become provable very near the end of the four-year period. The second reading 143 extends
    the limitation period longer than necessary to accommodate the Zenith Court's rationale
    and concern.
    The third reading thus seems to be the correct interpretation and has been adopted by nearly
    all decisions. The courts thus distinguish the uncertainty that prevents any recovery and
    shows that no cause of action has yet arisen from the mere uncertainty in damage
    measurement:
        The former denotes failure to establish an injury, while the latter denotes imprecision with
        regard to the scope or extent of the injury. The question of whether there is a right to
        recovery is not to be confused with the difficulty in ascertaining the scope or extent of the
        injury. 144
    Thus the alleged manipulation of a public market generated a cause of action on the day the
    market collapsed and the fact of injury appeared, even though the exact amount of damages
    was not yet known. 145 Similarly, the statute began to run when the defendant undertook
    predatory pricing and refused access to certain services many years ago, because damages

140 See   P340.

141 Zenith   , 401 U.S. at 339-40.

142 See  Malcolm E. Wheeler & Robert J. Jones, The Statute of Limitations for Antitrust Damage Actions: Four Years or Forty?
, 41 U. Chi. L. Rev. 72 (1973).

143 See Ansul Co. v. Uniroyal, Inc.  , 448 F.2d 872 (2d Cir. 1971), cert. denied , 404 U.S. 1018 (1972) (where plaintiff was
terminated by defendant in 1963 for failure to adhere to illegal retail price maintenance program and suit was brought in 1968,
plaintiff could recover damages falling within the four-year limitation period that could not have been proved with reasonable
certainty in 1963).

144 Pace Indus., Inc. v. Three Phoenix Co.  , 813 F.2d 234, 240 (9th Cir. 1987). See also Poster Exch., Inc. v. National Screen
Serv. Corp. , 456 F.2d 662, 666 (5th Cir. 1972); cf. Railing v. United Mine Workers , 445 F.2d 353 (4th Cir. 1971).

145 Camotex, S.R.L. v. Hunt    , 741 F. Supp. 1086 (S.D.N.Y. 1990).
               Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 34 of 45
                                                                                                                 Page 33 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    were sufficiently capable of estimation at that time, even though lost profits continued much
    later. 146 By contrast, those entitled to royalties from coal production were allowed to sue
    more than four years after an alleged conspiracy to fix coal prices, on the ground that
    royalties could not be determined until the coal was actually produced. 147

    One must wonder about the practical ability of the courts to apply the Zenith exception. In
    suits occurring more than four years after the defendant's acts injuring the plaintiff, the
    present judge must determine the point at which a hypothetical earlier judge would have held
    the plaintiff's claim to be too speculative. 148 But, of course, there is no earlier record. The
    present determination must then be made on a hypothetical set of proofs that are themselves
    speculative. That degree of refinement in fact finding is seldom possible. Accordingly, the
    simplicity of the ordinary accrual rule may be preferable, at least in close cases.

    An important corollary of the Zenith rule is that when the defendant commits an antitrust
    violation at time T1 but the plaintiff suffers no injury at all until time T2, the statute runs only
    from the latter time. For example, suppose that the defendant begins a predatory pricing
    campaign in 1997 and drives its last rival out of business at the end of 1998. The defendant
    then raises prices to monopoly levels in 1999. For rivals driven out of business, the statute
    runs from the inception of the predation campaign, for their injury results from the
    defendant's predatorily low prices. By contrast, consumers are not injured until 1999, when
    the defendant's predation has succeeded and it raises its prices to monopoly levels. For
    those consumers the statute of limitation runs from the later date. 149

    In Concord Boat 150 the Eighth Circuit recognized this possibility in a merger suit. In some
    cases the injury caused by a merger might not occur until many years after the transaction
    was completed. However, the basis of the merger challenge in this case was foreclosure-that
    after the merger the defendant supplied its newly acquired subsidiaries exclusively, denying
    rivals the opportunity to do so. 151 Damage from the alleged foreclosure was immediate,
    and the plaintiffs had presented a damages study that quantified their damages for each year
    since the merger occurred. As a result, the statute began to run from the date of the merger
    and would not be tolled under the Zenith exception. 152

    320e.


146 North Carolina Elec. Membership Corp. v. CP&L Co.        , 780 F. Supp. 322 (M.D.N.C. 1991).

147 Texas Utils. Co. v. Santa Fe Indus., Inc.   , 627 F. Supp. 44 (D.N.M. 1985).

148 Charlotte Telecasters, Inc. v. Jefferson-Pilot Corp.
                                                       , 546 F.2d 570 (4th Cir. 1976) (time-barred claim); Monona Shores, Inc.
v. U.S. Steel Corp. , 374 F. Supp. 930 (D. Minn. 1973) (same).

149 See the discussion of   Berkey Photo, Inc. v. Eastman Kodak Co. , 603 F.2d 263, 295 (2d Cir. 1979),         cert. denied , 444
U.S. 1093 (1980).

150 See Concord Boat Corp. v. Brunswick Corp.       , 207 F.3d 1039 (8th Cir.), cert. denied , 531 U.S. 979 (2000).
151 On this basis for challenging vertical mergers, see    P1004.

152 Concord Boat   , 207 F.3d at 1050-52. The court gave the benefit of the doubt to some firms whose injuries may not have
begun until four years after the merger; however, their suit was still filed outside the limitation period.
               Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 35 of 45
                                                                                                                    Page 34 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    Fraudulent concealment.
    The general doctrine that the statute of limitation does not run while the defendant's offense
    is "fraudulently concealed" 153 has been adopted in antitrust litigation. 154 The root idea is
    simply that concealment should neither reward the wrongdoing defendant nor deprive the
    unknowing plaintiff of its compensation. Because of its exceptional character, the plaintiff has
    the burden of establishing the requisite elements of the doctrine 155 -namely, concealment
    that was fraudulent. 156
    The concealment requirement is satisfied only if the plaintiff shows that it neither knew nor, in
    the exercise of due diligence, could reasonably have known of the offense. When a plaintiff
    has actual knowledge or reason to know of the violation, he or she can no longer claim
    fraudulent concealment, and the statute runs. 157 A few decisions have seemed willing to
    toll the statute unless the plaintiff knows or should know sufficient facts to plead a cause of
    action. 158 Other courts deny the exception when the plaintiff knew enough to excite
    reasonable suspicions and hence to induce further inquiry. 159 But if reasonable further


153 E.g., Holmberg v. Armbrecht    , 327 U.S. 392 (1946);     Exploration Co. v. United States , 247 U.S. 435 (1918);        Bailey v.
Glover , 88 U.S. 342 (1874).

154 E.g., GE v. San Antonio     , 334 F.2d 480 (5th Cir. 1964); Westinghouse Elec. Corp. v. Burlington , 326 F.2d 691 (D.C. Cir.
1964); Westinghouse Elec. Corp. v. Pacific Gas & Elec. Co. , 326 F.2d 575 (9th Cir. 1964); Atlantic City Elec. Co. v. GE , 312
F.2d 236 (2d Cir. 1962), cert. denied , 373 U.S. 909 (1963).On fraudulent concealment under the five-year limitation provision
for criminal antitrust violations, see United States v. Hayter Oil Co. , 51 F.3d 1265, 1270-71 (6th Cir. 1995) (government "is
only required to prove that the agreement existed during the statute of limitations period and that the defendant knowingly
entered into that agreement." Further, "[p]roof of an overt act taken in furtherance of the conspiracy within the statute of
limitations period would clearly demonstrate the continued existence of the conspiracy. ... [O]nce a conspiracy has been
established, it is presumed to continue until there is an affirmative showing that it has been abandoned." However, in finding that
the statute had not run, the court also noted telephone calls about allegedly cartelized gas prices that occurred during the
limitation period.).

155 E.g., Akron Presform Mold Co. v. McNeil Corp.     , 496 F.2d 230 (6th Cir.), cert. denied , 419 U.S. 997 (1974); Detroit v.
Grinnell Corp. , 495 F.2d 448 (2d Cir. 1974);       Dayco Corp. v. Firestone Tire & Rubber Co. , 386 F. Supp. 546 (N.D. Ohio
1974), aff'd , 523 F.2d 389 (6th Cir. 1975).

156 See, e.g., Hamilton Cnty. Bd. of Cnty. Comm'rs v. NFL      , 445 F. Supp. 2d 835 (S.D. Ohio 2006), aff'd , 491 F.3d 310 (6th
Cir. 2007) (antitrust claims arising from NFL and member team's negotiation of stadium lease were barred by statute of limitation
where no acts of fraudulent concealment were shown). Cf. Copper Antitrust Litig. , 436 F.3d 782 (7th Cir. 2006) (fraudulent
concealment could be inferred from facts that defendant provided false information to authorities indicating that certain trades
were authorized when in fact they were not; offered "innocent alternative explanations" to explain away events that might have
created suspicions of price fixing; affirmatively instructed other alleged co-conspirators not to provide evidence concerning the
conspiracy; and, in violation of its own record retention policy, destroyed certain documents having to do with its representations
to the press; denying summary judgment on this issue).

157 Stolow v. Greg Manning Auctions, Inc.      , 258 F. Supp. 2d 236 (S.D.N.Y. 2003), aff'd , 80 Fed. Appx. 722, 2003 WL
22717684, 2003-2 Trade Cas. P74,210 (2d Cir. Nov. 17, 2003) (unpublished) (fraudulent concealment did not toll statute when
plaintiff admitted he had actual knowledge of the conspiracy during statutory period).

158 Forbes v. Greater Minneapolis Area Bd. of Realtors    , 61 F.R.D. 416 (D. Minn. 1973).

159 See Wood v. Carpenter      , 101 U.S. 135, 141, 143 (1879); Alba v. Marietta Mem'l Hosp. , 202 F.3d 267, 2000 WL 32031,
2000-1 Trade Cas. P72,774 (6th Cir. Jan. 6, 2000) (unpublished) (physician whose attorney suspected that there was an
anticompetitive motive to hospital board's restrictions on plaintiff's privileges, but who failed to act promptly, did not exercise due
diligence; rejecting claim that earlier suit would have been futile because peer review documents were thought at the time not to
              Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 36 of 45
                                                                                                                  Page 35 of 44
                   Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    inquiry would not have revealed the offense, the plaintiff is not time-barred. 160 Of course,
    the plaintiff will be time-barred where his or her own prior complaints to public officials
    demonstrated awareness of adequate facts about the alleged offense 161 or where sufficient
    data about the offense were available in public records. 162 Once the plaintiff begins to
    suspect a violation that could have been detected with due diligence, the statute of limitation
    ordinarily begins to run. 163

    In its Klehr decision the Supreme Court considered whether

         affirmative continuing acts of fraud ... coupled with active coverup of the fraud, act to
         equitably toll the statute of limitations... whether or not Petitioners have exercised
         reasonable diligence to discover their claim. 164

be subject to discovery); Southwire Co. v. J.P. Morgan Chase & Co. , 307 F. Supp. 2d 1046, 1062 (W.D. Wis. 2004), aff'd in
part, rev'd in part , 436 F.3d 782 (7th Cir. 2006) (statute of limitation began to run on conspiracy claim when new reports were
published that Commodities Futures Trading Commission was launching investigation, not three years later, when a different
party filed a lawsuit); Insulate SB, Inc. v. Advanced Finishing Sys ., 2014 WL 943224 (D. Minn. Mar. 11, 2014) (fraudulent
concealment did not toll statute when plaintiffs could not show that they had exercised due diligence and an FTC action put them
on notice of their antitrust claim); Copper Mkt. Antitrust Litig. , 2003 WL 22495750, 2003-2 Trade Cas. P74,165 (W.D. Wis.
Aug. 20, 2003) (plaintiffs were put on notice of conspiracy when articles revealing it were published in the New York Times );
 Monosodium Glutamate Antitrust Litig. , 2003 WL 297287, 2003-1 Trade Cas. P73,963 (D. Minn. Feb. 6, 2003) (fraudulent
concealment tolled statute of limitation on defendants' alleged price-fixing conspiracy; the purchasers' due diligence was not
undermined by publication a few years earlier of an article that spoke of a government investigation into lysine price fixing even
though the article mentioned that the investigation might spill over into other unnamed products); Vitamins Antitrust Litig. ,
2000 WL 1475705, 2000-1 Trade Cas. P72,914 (D.D.C. May 9, 2000) (affirmative acts of fraudulent concealment by one co-
conspirator could be attributed to all, thus tolling the statute as to all). See also Johnson Controls v. Exide Corp. , 129 F. Supp.
2d 1137 (N.D. Ill. 2001) (limitation barred Robinson-Patman Act claim; rejecting fraudulent concealment claim on 12(b)(6) motion
where statute had run and complaint made clear that plaintiff filed its action at least seven months after the alleged acts of
fraudulent concealment were known to it); National Music Ctrs. of Am., Inc. v. Kimball Int'l, Inc. , 1990 WL 157374, 1990-2
Trade Cas. P69,207 (M.D. Pa. Aug. 29, 1990) (inquiry necessary once one learns facts calculated to excite inquiry). See also
Processed Egg Products Antitrust Litig ., 931 F. Supp. 2d 654 (E.D. Pa. 2013) (plaintiffs pleading fraudulent concealment and
asserting discovery rule under several states' discovery rules must allege a specific date from which statute was tolled).

160 See Glazer Steel Corp. v. Toyomenka, Inc.    , 392 F. Supp. 500 (S.D.N.Y. 1974).

161 Starview Outdoor Theatre, Inc. v. Paramount Film Distrib. Corp.   , 254 F. Supp. 855, 857 (N.D. Ill. 1966).

162 Dayco Corp. v. Firestone Tire & Rubber Co.          , 386 F. Supp. 546 (N.D. Ohio 1974), aff'd , 523 F.2d 389 (6th Cir. 1975)
(congressional hearings and FTC proceedings); Willmar Poultry Co. v. Morton-Norwich Prods., Inc. , 520 F.2d 289 (8th Cir.
1975), cert. denied , 424 U.S. 915 (1976) (U.S. Tariff Commission report); Gaetzi v. Carling Brewing Co. , 205 F. Supp. 615
(E.D. Mich. 1962) (Canadian government report). See also Morton's Mkt., Inc. v. Gustafson's Dairy, Inc. , 198 F.3d 823, 834-
35 (11th Cir. 1999), cert. denied , 529 U.S. 1130 (2000) (newspaper articles stating that defendants had been indicted for bid
rigging in milk sales to schools did not put a different class of customers-ordinary retailers-on notice of price fixing by the same
defendants; doctrine of fraudulent concealment does not require that "notice of one wrong by a defendant triggers a duty for
potential plaintiffs to investigate all other potential wrongs the defendant might be committing").

163 Pinney Dock & Transp. Co. v. Penn Cent. Corp.     , 838 F.2d 1445, 1480 (6th Cir.), cert. denied , 488 U.S. 880 (1988). See
also Re/Max Int'l Inc. v. Realty One, Inc. , 173 F.3d 995, 1021 (6th Cir. 1999), appeal after remand , 271 F.3d 633 (6th Cir.
2001), cert. denied , 535 U.S. 987 (2002) (while agreement among defendants to impose adverse commission splits on the
plaintiffs may have been fraudulently concealed, limitation period began when the defendants received knowledge that the splits
were being imposed). And see Copper Antitrust Litig. , 436 F.3d 782 (7th Cir. 2006) (until a different firm unsealed its
complaint possibly implicating the defendant, plaintiffs may not have had sufficient information to place them on inquiry notice
commencing statute of limitation; denying summary judgment on this issue).

164 Klehr v. A.O. Smith Corp   ., 521 U.S. 179, 194 (1997).
                 Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 37 of 45
                                                                                                                   Page 36 of 44
                     Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

     The circuits differed with respect to plaintiffs who were merely in the position of having
     "constructive" knowledge-that is, plaintiffs for whom the exercise of due diligence would have
     revealed the claim and thus "should have known" about it. The Court held that a plaintiff who
     has not exercised due diligence may not benefit from alleging fraudulent concealment. 165
     However, while stating that its holding was limited to the context of civil RICO claims, 166 the
     main basis for the Court's conclusion was that the antitrust cases had adopted that view
     without significant dissent. 167

     In any event, while the issues that Klehr considered as well as those it refused to consider
     had led to wide differences of opinion among the circuits in RICO cases, 168 they are
     relatively more settled in antitrust cases.

     An additional complication arises in class actions. A class member with actual knowledge
     must be denied damages, although one court held that certification of an antitrust class
     action does not require evidence that no class member had actual knowledge of an
     alleged conspiracy formulated outside the limitation period. 169
     Once concealment is found, it must still be fraudulent to toll the statute. Unless the parties
     stand in a fiduciary relationship requiring disclosure to the plaintiff, mere silence or failure to
     volunteer information about one's activities does not generally constitute fraudulent
     concealment sufficient to toll the statute. 170 Nor does a denial when there is no duty to
     speak 171 or a failure to reveal one's intentions. 172




165 Ibid. See also Aluminum Phosphide Antitrust Litig.     , 905 F. Supp. 1457 (D. Kan. 1995) (where buyer had knowledge of
irregularities in bidding in 1989 but did not pursue inquiry and antitrust action until 1993, after the government had obtained a
criminal indictment, the buyers did not exercise due diligence to toll the statute of limitation).

166 Klehr   , 521 U.S. at 194.

167 Id.   at 195, citing this Paragraph in an earlier edition.

168 See     Douglas E. Abrams,      Crime Legislation and the Public Interest: Lessons from Civil RICO , 50 SMU L. Rev. 33, 70
(1996).

169 Greenhaw v. Lubbock Cnty. Beverage Ass'n     , 721 F.2d 1019, 1024 (5th Cir. 1983), overruled on other grounds sub nom.
International Woodworkers of Am. v. Champion Int'l Corp. , 790 F.2d 1174 (5th Cir. 1986), aff'd sub nom. Crawford Fitting Co.
v. J.T. Gibbons, Inc. , 482 U.S. 437 (1987), on remand , 826 F.2d 309 (5th Cir. 1987).

170 See Texas v. Allan Constr. Co.    , 851 F.2d 1526, 1532 (5th Cir. 1988); Pinney Dock & Transp. Co. v. Penn Cent. Corp. ,
838 F.2d 1445, 1470 (6th Cir.), cert. denied , 488 U.S. 880 (1988) (dicta); Conmar Corp. v. Mitsui & Co. (U.S.A.) , 858 F.2d
499 (9th Cir. 1988), cert. denied , 488 U.S. 1010 (1989) (passive concealment of information does not toll statute of limitation
in absence of fiduciary duty to disclose information to plaintiff); National Music Ctrs. of Am., Inc. v. Kimball Int'l, Inc. , 1990 WL
157374, 1990-2 Trade Cas. P69,207 (M.D. Pa. Aug. 29, 1990) (mere denial of wrongdoing or "silence or passive conduct"
insufficient in absence of fiduciary relationship); Dayco Corp. v. Firestone Tire & Rubber Co. , 386 F. Supp. 546 (N.D. Ohio
1974), aff'd , 523 F.2d 389 (6th Cir. 1975); Gaetzi v. Carling Brewing Co. , 205 F. Supp. 615 (E.D. Mich. 1962).

171 E.g., Suckow Borax Mines Consol. v. Borax Consol., Ltd.  , 185 F.2d 196 (9th Cir. 1950), cert. denied , 340 U.S. 943
(1951); Hall v. E.I. DuPont de Nemours & Co. , 312 F. Supp. 358, 362 (E.D.N.Y. 1970). Contra Philco Corp. v. RCA , 186 F.
Supp. 155, 163 (E.D. Pa. 1960).

172 See Dayco     , 386 F. Supp. at 548-49 (attempted monopolization).
               Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 38 of 45
                                                                                                                    Page 37 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    Nevertheless, courts often toll the limitation period in the case of secret conspiracies. 173
    Because most clear-cut price-fixing agreements are created and maintained outside of the
    public eye and abandoned once disclosed, some courts have reasoned that such a
    conspiracy is "self-concealing"-tolling the statute automatically, regardless of affirmative
    efforts to conceal it. Merely pretending that a collusive bid was competitive made the
    conspiracy self-concealing in the Second Circuit, tolling the statute. 174 Of course, regarding
    every secret conspiracy as sufficiently self-concealing to toll the statute would often force the
    courts to deal with stale, if not ancient, evidence. To reduce that potential, the Fifth Circuit
    refused to regard all secret conspiracies as self-concealing, although it conceded that some
    "efforts aimed at keeping the price-fixing activities secret, even if undertaken at the time of
    the conspiracy" itself, could toll the statute. 175 Other courts have distinguished acts




173 Public Serv. Co. v. GE, 315 F.2d 306 (10th Cir.), cert. denied , 374 U.S. 809 (1963); Ohio Valley Elec. Corp. v. GE , 244
F. Supp. 914 (S.D.N.Y. 1965); Illinois v. Sperry Rand Corp. , 237 F. Supp. 520 (N.D. Ill. 1965).

174 New York v. Hendrickson Bros., Inc.    , 840 F.2d 1065, 1084-85 (2d Cir.), cert. denied , 488 U.S. 848 (1988). The court also
found affirmative acts of concealment: swearing that they had not engaged in collusion, destroying incriminating documents, and
agreeing that one of them would testify falsely if summoned before a grand jury. In Nine West Shoes Antitrust Litigation , 80 F.
Supp. 2d 181, 192-93 (S.D.N.Y. 2000), the district court followed Hendrickson for purposes of refusing to grant a motion to
dismiss and applied it to an alleged resale price maintenance conspiracy, as well as an alleged conspiracy involving a shoe
manufacturer and department stores to impose RPM on other shoe dealers. See also Supermarket of Marlinton, Inc. v. Meadow
Gold Dairies, Inc. , 71 F.3d 119, 122-24 (4th Cir. 1995) (rejecting both the notion that tolling of statute requires "affirmative acts"
that are "separate and apart" from the challenged conspiracy and the idea that the conspiracy itself is "self-concealing" and tolls
the statute; rather, adopting an "intermediate" standard that looked for "affirmative acts" of concealment that are designed to
"deflect" litigation); United States v. Evans & Assocs. Constr. Co. , 839 F.2d 656 (10th Cir.), aff'd on reh'g , 857 F.2d 720
(10th Cir. 1988); Sonterra Capital Master Fund, Ltd. v. Barclays Bank, PLC , 366 F. Supp. 3d 516 (S.D.N.Y. 2018) (per se
unlawful conspiracy to set interest rates was inherently self-concealing); Issuer Plaintiff Initial Pub. Offering Antitrust Litig. ,
2004 WL 487222, 2004-1 Trade Cas. P74,348 (S.D.N.Y. Mar. 12, 2004) (because price-fixing conspiracies are inherently self-
concealing, plaintiffs could have statute of limitation tolled simply by showing that they had no knowledge of the underlying facts
and could not reasonably have discovered them; they did not need to show affirmative steps taken to conceal the conspiracy);
 Commercial Explosives Litig. , 1996 WL 795270, 1997-1 Trade Cas. P71,723 (D. Utah Dec. 20, 1996) (for purposes of motion
on pleadings, allegations that manufacturer and other alleged price fixers conducted their conspiratorial meetings in secret and
took care to keep documents from getting out was sufficient to allege fraudulent concealment); Michigan ex rel. Kelley v.
McDonald Dairy Co. , 905 F. Supp. 447 (W.D. Mich. 1995) (affirmative acts of fraudulent concealment included preparing
prearranged losing bids, providing false information to law enforcers, destroying evidence, and concealing public records);
 Catfish Antitrust Litig. , 908 F. Supp. 400 (N.D. Miss. 1995) (furtive telephone calls and secret meetings plus using cash in
order to avoid making a record could amount to fraudulent concealment); Ohio ex rel. Montgomery v. Louis Trauth Dairy, Inc. ,
1996 WL 343440, 1996-1 Trade Cas. P71,396 (S.D. Ohio Apr. 25, 1996) (practice of submitting "complementary" bids on school
milk contracts could constitute an affirmative act of fraudulent concealment; under the scheme the co-conspirators would select
the winning bidder, the others would then bid "high but near enough to each other" to keep from drawing attention; following
 Pinney Dock & Transp. Co. v. Penn Cent. Co. , 838 F.2d 1445, 1480 (6th Cir.), cert. denied , 488 U.S. 880 (1988), on
definition of "affirmative acts of fraudulent concealment"; further, a newspaper article concerning evidence that one of the
defendants had been engaged in bid rigging in other states was insufficient to put plaintiffs on inquiry notice so as to state
limitation period running; while a "major Ohio newspaper" reported a conviction of antitrust violations in Florida, the "story
provided no hint of illegal activity in Ohio"); Carbon Dioxide Antitrust Litig. , 1993 WL 559779, 1993-2 Trade Cas. P70,436
(M.D. Fla. Nov. 17, 1993) (mere, apparently unilateral, refusal of alleged co-conspirators to bid competitively was not enough to
put purchasers on inquiry notice and state statute of limitation running-indeed, if it were, rational cartel members would not do it);
 Commonwealth of Pa. v. Milk Indus. Mgmt. Corp ., 812 F. Supp. 500 (E.D. Pa. 1992) (price-fixing conspiracy may have been
self-concealing); Bethlehem Steel Corp. v. Fischbach & Moore, Inc. , 641 F. Supp. 271, 274 (E.D. Pa. 1986). And see Philip
Morris, Inc. v. Heinrich , 1997 WL 781907, 1998-1 Trade Cas. P72,061 (S.D.N.Y. Dec. 18, 1997) (single cartel member's
actions of fraudulent concealment tolled the statute as to all of them).
               Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 39 of 45
                                                                                                                   Page 38 of 44
                   Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    necessary to perfect the conspiracy (such as secret meetings) from the affirmative acts of
    concealment that would toll the statute. 176 This is to deny that a clandestine conspiracy is
    inherently self-concealing and thus to require "affirmative acts" of concealment to toll the
    statute of limitation. 177
    If the efforts to disguise illegal activity are elaborate, fraudulent concealment is readily found.
    The Ninth Circuit saw sufficient evidence of fraudulent concealment when the conspirators
    responded to an inquiry by stating that prices were uniform because the market was very
    competitive and communicated prices to each other in "plain white envelopes." 178 Another
    court suggested that misrepresenting the reasons for one's refusal to deal and implying that
    one was ready to deal if certain business difficulties were resolved might constitute
    fraudulent concealment. 179 It thus appears that the line between active and passive
    concealment is very fine indeed. 180

    320f.

    Prior administrative or judicial proceedings.



175 Texas v. Allan Constr. Co.   , 851 F.2d 1526, 1532 (5th Cir. 1988) (secrecy is part of the "wrong itself" and does not toll the
statute); but the acts of concealment need not be wholly separate from the illegal conspiracy itself.

176 Colorado v. Western Paving Constr. Co.   , 630 F. Supp. 206 (D. Colo. 1986),        aff'd by an equally divided en banc court ,
841 F.2d 1025 (10th Cir.), cert. denied , 488 U.S. 870 (1988).

177 Pinney Dock   , 838 F.2d at 1472; Berkson v. Del Monte Corp. , 743 F.2d 53 (1st Cir. 1984), cert. denied , 470 U.S. 1056
(1985).

178 E.W. French & Sons, Inc. v. General Portland    , 885 F.2d 1392 (9th Cir. 1989).

179 Pinney Dock   , 838 F.2d at 1472-77.

180 See Carrier Corp. v. Outokumpu Oyj      , 673 F.3d 430 (6th Cir. 2012) (at least at pleading stage, complaint alleged sufficiently
specific acts by defendants to hide their conspiracy); Hexcel Corp. v. Ineos Polymers, Inc. , 681 F.3d 1055 (9th Cir. 2012)
(buyer had constructive knowledge, precluding claim of fraudulent concealment, given that it had sufficient information to warrant
an investigation); Aspartame Antitrust Litig. , 416 Fed. Appx. 208, 2011 WL 263647, 2011-1 Trade Cas. P77,324 (3d Cir. Jan.
28, 2011) (unpublished) (allegations of worldwide price fixing and market allocation conspiracy of generic sweetener; even if
defendants fraudulently concealed their actions, there was no evidence that plaintiffs exercised due diligence in discovering the
conspiracy; here, the district court had identified "storm warnings" that purchasers ignored-namely, very high prices, the initiation
of several price-fixing cases in foreign countries, and the publication of an academic study and suggested collusion; unclear why
refusal to sell parts under a contract was an antitrust violation rather than simple breach of a contract); Schenker AG v. Societe
Air Fr. , 102 F. Supp. 3d 418 (E.D.N.Y. 2015) (plaintiff sufficiently pled fraudulent concealment in defendants' arrangements to
keep their meetings and communications secret); Refrigerant Compressors Antitrust Litig ., 92 F. Supp. 3d 652 (E.D. Mich.
2015) (plaintiffs sufficiently pled fraudulent concealment where defendants did such things as put false email subject lines as
code for conspiracy-related communications); Magnesium Oxide Antitrust Litig. , 2012 WL 1150123, 2012-1 Trade Cas.
P77,879 (D.N.J. Apr. 5, 2012) (unpublished) (plaintiffs adequately alleged fraudulent concealment); Kearse v. Kaplan, Inc. ,
692 F. Supp. 2d 398 (S.D.N.Y. 2010) (statute of limitation barred antitrust claim of market allocation against seller of test
preparation course when purchase was made some six years prior to filing and complaint made only conclusory allegations of
fraudulent concealment; claim was publicized by class action filing 3 years and 364 days prior to plaintiff's filing; court concluded
this created a presumption that due diligence would have uncovered evidence of the conspiracy); Cotton Yarn Antitrust Litig. ,
2009 WL 618252, 2009-1 Trade Cas. P76,536 (M.D.N.C. Mar. 6, 2009) (one-year statute of limitation contained in arbitration
agreement was tolled by fraudulent concealment; did not run until a purchaser discovered the fraud; note: court assumes that
arbitration provision limiting statute to one year is permissible; effect of court's order is to compel arbitration but also to permit
arbitration to go forward on the merits).
                Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 40 of 45
                                                                                                                 Page 39 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

     The Ninth Circuit held that the antitrust statute of limitation was tolled during the pendency of
     the plaintiff's prior proceeding before the Interstate Commerce Commission, which had
     primary jurisdiction over the issue raised in the antitrust suit. 181 If the plaintiff had initiated
     its antitrust suit first, the court would have dismissed or stayed the suit. 182 As a result, the
     antitrust suit would not be heard until after the conclusion of the administrative proceedings
     in any event. Therefore, requiring an earlier suit would be wasteful if the administrators
     actually dispose entirely of the controversy.
     The Seventh Circuit disagreed, emphasizing that the plaintiff can satisfy the statute by filing
     its antitrust suit, which would then be held in abeyance during any administrative
     proceedings. 183 To be sure, if administrative proceedings are a jurisdictional pre-requisite
     to the initiation of the antitrust suit, then no antitrust claim accrues until the prerequisite is
     met. Thus, if exhaustion of administrative remedies is required before suit, then the statute
     does not begin running until that occurs, for in that case the judicial cause of action has not
     yet accrued. 184 But the limitation period continues to run during the pendency of an
     administrative investigation that was in no sense a jurisdictional prerequisite to the filing of a
     Sherman Act complaint, although it might determine the extent of any antitrust immunity or
     defense. 185
     Of course, a timely filing in court satisfies the statute of limitation even if the "defendant asks
     that the suit be stayed because a potentially controlling question is within an agency's
     exclusive jurisdiction." 186 However, allowing "the statute of limitations to be tolled on the
     basis of a defense that might be raised if the suit were filed on time" seemed improper. 187




181 Mount Hood Stages, Inc. v. Greyhound Corp.         , 616 F.2d 394, 399-400 (9th Cir.), cert. denied , 449 U.S. 831 (1980). To
illustrate the tolling: the plaintiff would have one year to sue after the conclusion of administrative proceedings that began three
years after the antitrust cause of action arose. The ICC has been dissolved and replaced by the Surface Transportation Board.
On "primary" jurisdiction, see 244d.

182 At the time the administrative complaint was filed, the law of the circuit would have required dismissal of a contemporaneous

antitrust suit. Mount Hood , 616 F.2d at 399. See Carnation Co. v. Pacific Westbound Conference , 336 F.2d 650, 667 n.32
(9th Cir. 1964), rev'd , 383 U.S. 213 (1966).In Johnson v. Nyack Hospital , 86 F.2d 8, 11 (2d Cir. 1996), the Second Circuit
concluded that the antitrust statute of limitation is "not a concern" when a court deferring to a regulatory agency's "primary
jurisdiction" issues a stay. However, like here, when the antitrust action was dismissed without prejudice, the courts have
developed the concept of "equitable tolling," which permits the plaintiff to exercise due diligence in filing after obtaining the
administrative ruling. But in the present case the plaintiff had waited 15 months after the antitrust dismissal to pursue his action
with the New York State Public Health Council and did not return to the federal court until 29 months after the case had been
dismissed without prejudice. That was too long for this court.

183 Brunswick Corp. v. Riegel Textile Corp.   , 752 F.2d 261, 269 (7th Cir. 1984), cert. denied , 472 U.S. 1018 (1985).

184 Id. at 269 (statute would be tolled); Huron Valley Hosp., Inc. v. City of Pontiac , 612 F. Supp. 654 (E.D. Mich. 1985), aff'd
in part , 792 F.2d 563 (6th Cir.), cert. denied , 479 U.S. 885 (1986) (statute did not run during period when antitrust suit was
not yet ripe for adjudication because state agency had not yet issued final denial of certificate of need). On exhaustion
requirements, see 244d4 (federal remedies), P245 (state and nongovernmental remedies).

185 Higgins v. New York Stock Exch., Inc.   , 942 F.2d 829 (2d Cir. 1991).

186 Brunswick   , 752 F.2d at 269.

187 Ibid.
                Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 41 of 45
                                                                                                                  Page 40 of 44
                        Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

     Prior suit in a state court under state antitrust law by the same plaintiff does not toll the
     federal statute of limitation. 188 Nor does a prior federal suit by other plaintiffs, 189 although
     a class action does toll the statute for all putative class members until class certification is
     denied. 190

     Class action lawsuits raise a special problem because individual class members are no more
     than passive participants in the lawsuit, with no power to control the litigation. In American
     Pipe the Supreme Court held that a statute of limitation was tolled during the pendency of a
     class action until such time as a member decided to opt out. 191 However, in Copper a
     Seventh Circuit panel majority refused to extend this rule to a situation in which the initial suit
     was a state court class action under state antitrust law and the subsequent suit was federal.
      192 A dissenter claimed that this holding violated the principle established by the Supreme

     Court in Marrese that state tribunals must be able to control the effect of their own
     judgments. 193 In particular, in a case where the state antitrust law is substantively very
     similar to federal law, tolling seems to be the preferred course:

           The degree of weight any particular state court action must be given in a later federal
           case will vary, of course, depending on how related it is factually and legally to the
           federal litigation-there will be a potential range spanning from no weight at all, for wholly
           unrelated suits, to full-blown claim preclusion, under the principles articulated in
            Marrese. In the present case, the close identity between the facts and legal principles
           governing the state and federal cases are enough to require tolling the statute of
           limitations for the persons who were unnamed class members in the California suit. An
           examination of the pleadings in the Heliotrope [i.e., the alternative] litigation reveals
           that it covers exactly the same matters that the present suit involves. As unnamed
           members of the Heliotrope class, the plaintiffs here had no ability to control the course



188 Drumm v. Sizeler Realty Co.       , 817 F.2d 1195 (5th Cir. 1987) (earlier suit itself untimely under state's one-year statute of
limitation).

189 Shimazaki Commc'ns, Inc. v. AT&T         , 647 F. Supp. 10 (S.D.N.Y. 1986) (present plaintiff wholesaler not within prior class
action by retailers).

190 Crown, Cork & Seal Co. v. Parker      , 462 U.S. 345, 353 (1983).

191 American Pipe & Constr. Co. v. Utah       , 414 U.S. 538 (1974). The issue was whether class members could still intervene in
an antitrust suit after the limitations period had run, when their class action had been deemed unsuitable for class status. The
Court said: A contrary rule allowing participation only by those potential members of the class who had earlier filed motions to
intervene in the suit would deprive Rule 23 class actions of the efficiency and economy of litigation which is a principal purpose
of the procedure. Potential class members would be induced to file protective motions to intervene or to join in the event that a
class was later found unsuitable. In cases such as this one, where the determination to disallow the class action was made upon
considerations that may vary with such subtle factors as experience with prior similar litigation or the current status of a court's
docket, a rule requiring successful anticipation of the determination of the viability of the class would breed needless duplication
of motions. We are convinced that the rule most consistent with federal class action procedure must be that the commencement
of a class action suspends the applicable statute of limitations as to all asserted members of the class who would have been
parties had the suit been permitted to continue as a class action. Id. at 553-54.

192 Copper Antitrust Litig.   , 436 F.3d 782 (7th Cir. 2006).

193 Marrese v. American Acad. of Orthopaedic Surgeons           , 470 U.S. 373 (1985). See 317f3.
               Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 42 of 45
                                                                                                                Page 41 of 44
                   Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

          of that litigation. Moreover, had plaintiffs stayed in the Heliotrope litigation and the
          court had finally resolved such critical questions as relevant market and effect on
          competition, they would probably have faced issue preclusion in any subsequent effort to
          invoke the federal antitrust laws. Under those circumstances, I would find that the
           American Pipe tolling rule applies and I would thus conclude that the plaintiffs' claims
          against Morgan are entitled to go forward without further fact-finding. 194

    320g.

    Laches.
    The §4B limitation period applies only to damage actions. Equity actions, private or
    governmental, are not restricted by the statute of limitation. But the doctrine of laches can
    bar an equity action where the plaintiff's unjustifiable delay in suing prejudices the defendant.
    Laches can also bar damages actions, 195 and it can be applied both to lengthen and to
    shorten the statute of limitation. 196 As a general proposition, however, judicial uses of
    laches to deviate from a statute of limitation particular to a substantive provision, such as the
    antitrust laws, is and should be fairly rare-limited, for example, to situations where a plaintiff
    knew of its cause of action but sat on its rights to the defendant's prejudice. 197 For that
    reason, some appellate decisions presume that using laches to shorten a statute of limitation
    is improper. 198 The statute provides prospective plaintiffs with a "date certain" (subject to
    numerous qualifications) for collecting evidence of a violation and assembling their complaint
    with care. The more frequently judges deviate from the statute by applying laches, the less
    certainty plaintiffs will have.



194 Copper   , 436 F.3d at 798 (Judge Wood, dissenting on this issue).

195 Hot Wax, Inc. v. Turtle Wax, Inc., 191 F.3d 813, 822 (7th Cir. 1999); A.C. Aukerman Co. v. R.L. Chaides Constr. Co. , 960
F.2d 1020, 1029-30 (Fed. Cir. 1992) (en banc).

196 See   Teamsters & Emp'rs Welfare Trust of Ill. v. Gorman Bros. Ready Mix , 283 F.3d 877 (7th Cir. 2002). See also
Hutchinson v. Spanierman , 190 F.3d 815, 823 (7th Cir.1999) (laches can be used to shorten as well as lengthen statute of
limitation); Maksym v. Loesch , 937 F.2d 1237, 1248 (7th Cir. 1991) (same).

197 E.g., Hutchinson    , 190 F.3d 815. When the statute of limitation is "borrowed," as it is in some civil rights cases, then the
rationales for judicial shortening may be more compelling. See Teamsters , 283 F.3d at 881, criticizing the Second Circuit's
decision in Ivani Contracting Corp. v. City of New York , 103 F.3d 257 (2d Cir. 1997), for creating a conclusive presumption
against using laches to shorten a statute of limitation on separation of powers grounds, even though in that case the substantive
action was under a federal statute, 42 U.S.C. §§1981, 1983, and the relevant limitation provision was borrowed from state law.
 See also Oliver v. SD-3C LLC , 751 F.3d 1081 (9th Cir. 2014), cert. denied , 575 U.S. 950 (2015) (where consumer plaintiffs
sought only equitable relief, their claim was governed by laches, not statute of limitation; here, court concludes that laches does
not bar the claim because, if the claim had been for damages, the continuing violation exception would have applied); Duty
Free Ams., Inc. v. Estée Lauder Co. , No. 12-60741-Civ, 2014 WL 1329359 (S.D. Fla. Mar. 31, 2014), aff'd , 797 F.3d 1248
(11th Cir. 2015) (rejecting injunction as not warranted but stating in dicta that laches on injunction claim would presumptively be
governed by four-year limitation period). See also American Express Anti-Steering Rules Antitrust Litig ., 2016 WL 748089
(E.D.N.Y. Jan. 7, 2016) (following recommendation in P320 that laches be applied sparingly where plaintiff is seeking only to
enjoin certain conduct because "the right to engage in ongoing anticompetitive conduct should not ordinarily be acquired by
prescription.").

198 E.g., Herman Miller, Inc. v. Palazzetti Imps. & Exps., Inc.   , 270 F.3d 298, 321 (6th Cir. 2001); United States v. Rodriguez
Aquirre , 264 F.3d 1195, 1208 (10th Cir. 2001).
               Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 43 of 45
                                                                                                                  Page 42 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    Delay is, of course, justifiable when the plaintiff concealed the offense or the defendant was
    unable reasonably to discover it. Delay is also justifiable, especially on the government's
    part, when it serves antitrust policy. For example, there may be good reason not to sue
    unlawful monopolies until they prove resistant to self-correcting natural market forces. 199
    What constitutes undue delay cannot be stated precisely. Although laches can apply before
    the statute of limitation has run at law, 200 an equity court may be reluctant to cut off the
    antitrust plaintiff within the statutory period. Thus, some have suggested the four-year
    statutory limitation period for damage actions as determinative of the equity result as well.
     201

    In any event, the reasons for invoking laches should define excessive delay. Extending the
    period during which a plaintiff may seek an injunction beyond the four-year statute of
    limitation is occasionally justified. A stricter limitation is especially appropriate and should be
    absolute where the equity relief is retroactive in character, such as divestiture of illegally
    acquired assets. It is less true where the requested equity relief is merely prospective. For
    example, as we noted previously, an injunction against future enforcement of a long-term
    anticompetitive contract might be appropriate even after the limitation period for damages
    has run. 202 Quite aside from the issue of awarding damages, the right to engage in ongoing
    anticompetitive conduct should not ordinarily be acquired by prescription.
    Stale or lost evidence is one important concern and applies more or less equally to damage
    and equity actions. 203 In antitrust litigation, reconstruction not only of the parties' behavior
    but especially of surrounding market circumstances becomes increasingly difficult with the
    passage of time. 204 But evidentiary problems are hardly the only concern. Mergers, for
    example, normally lead to progressive integration of the assets and operations of the merged
    firms, and to investment and other business decisions that are contingent on the new
    situation. There is much to be said, therefore, for insisting that private parties, at least, bring
    suit with reasonable promptness if they have grounds for believing that the merger will


199 See   WK-CHAP6.

200 E.g., Goodwin v. First Baptist Church   , 169 S.E.2d 334 (Ga. 1969) (suit six months after event barred by laches).

201 IT&T, Inc. v. General Tel. & Elec. Corp.  , 518 F.2d 913, 928 (9th Cir. 1975) ("The proper approach is to use §4B's four-year
limitation on §4 actions as a guideline in computing the laches period under §16."); Maricopa Cnty. v. American Pipe & Constr.
Co. , 303 F. Supp. 77 (D. Ariz. 1969), aff'd , 431 F.2d 1145 (9th Cir. 1970), cert. denied , 401 U.S. 937 (1971) (inappropriate
to cut short the statutory period, even as extended by tolling under Clayton Act §5(i); also, defendant not prejudiced);
 Farbenfabriken Bayer, A.G. v. Sterling Drug Co. , 197 F. Supp. 627 (D.N.J. 1961), aff'd on other grounds , 307 F.2d 210 (3d
Cir. 1962), cert. denied , 372 U.S. 929 (1963) (1955 suit for conspiracy ending in 1941 barred). See also Kaiser Aluminum &
Chem. Sales, Inc. v. Avondale Shipyards, Inc. , 677 F.2d 1045 (5th Cir. 1982), cert. denied , 459 U.S. 1105 (1983) (applying
statute of limitation to damage claim and laches to equity claim, relying on same facts).
202 See   320c3.

203 Dempster v. Rosehill Cemetery Co.       , 68 N.E. 1070, 1074 (Ill. 1903): Time impairs and destroys evidence of the true facts,
and makes it practically impossible to meet positive testimony of the complainants, whether the same be true or untrue. A court
of equity, therefore, finding itself unable to render substantial justice between the parties, asserts the principle of laches on the
grounds of public policy and for the repose of property rights.

204 E.g., Argus, Inc. v. Eastman Kodak Co.      , 552 F. Supp. 589 (S.D.N.Y. 1982) (laches appropriate if plaintiff's delay was
prejudicial to the defendant).
               Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 44 of 45
                                                                                                              Page 43 of 44
                    Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

    damage them. In such cases the laches period should certainly be no longer than the
    limitation period for damages and could justifiably be made much shorter.
    Concern for the defendant's position must, of course, be balanced against the public interest
    in vindicating the antitrust laws, notwithstanding the passage of time or the possible
    negligence or unwise priorities of public officials in failing to sue earlier. These reasons
    account for the usual proposition that laches does not run against the government. 205 Yet
    the considerations underlying the laches doctrine might well be applied against the
    government in appropriate cases-possibly by adjustment in certain burdens of proof or the
    remedy. 206
    There is another reason why the courts hesitate to bar the governmental equity action:
    although every successful antitrust plaintiff is vindicating antitrust purposes, one might
    believe that the delayed government suit is more likely to be addressed to significant public
    harms than the private and more selfishly motivated suit. Thus we can distinguish between
    the public and private plaintiff in balancing the interests of plaintiff, defendant, and the public
    in deciding whether an equity suit long after the event should be time-barred.

    Most equity suits seek an injunction against current conduct. In such a suit, a defense based
    on the plaintiff's delay in suing, whether or not phrased in terms of laches, is more likely to
    rest on a claimed estoppel arising from express or implied approval. But the estoppel claim is
    usually unsound, both in fact and in principle. First, failure to sue seldom, if ever, implies
    approval. 207 Second, even express approval cannot excuse continued illegality. Aside from
    estoppel arguments, therefore, the laches issue arises in antitrust cases where a claim for
    present equitable relief is based partly or entirely on conduct that occurred some time ago.
    There are two illustrative situations: complaints against a prior merger or against a
    monopolist that once engaged in an exclusionary practice but is doing so no longer. In the
     Pullman case, 208 the court found more recent exclusionary practices and thus avoided
    reliance on acquisitions of competitors 40 years before suit.

    In Steves the Fourth Circuit held that laches did not bar the plaintiff's request for
    divestiture of an unlawful merger, in a challenge brought nearly four years subsequent to the
    acquisition. 209 The claimed injury was a refusal to deal caused by the merger, and the


205 United States v. Kirkpatrick , 22 U.S. 720, 735 (1824); United States v. Firestone Tire & Rubber Co. , 374 F. Supp. 431
(N.D. Ohio 1974); United States v. Pennsalt Chems. Corp. , 262 F. Supp. 101 (E.D. Pa. 1967). Cf. United States v. New
Orleans Chapter, Associated Gen. Contractors , 382 U.S. 17 (1965) (per curiam reversal of lower court decision holding the
government estopped to indict defendants for practices openly conducted for many years following a government investigation
that did not lead to any complaint). See Guaranty Tr. Co. v. United States , 304 U.S. 126, 132 (1938); United States v. RCA ,
358 U.S. 334, 352 (1959). Cf. United States v. E.I. DuPont de Nemours & Co. , 353 U.S. 586, 622-24 (1957) (Burton, J.,
dissenting; acknowledging that laches does not run against the government by objecting to government's challenge to 35-year-
old merger on the basis of competitive harm thought to exist when the suit was filed, but not earlier, when the merger had been
consummated).

206 See United States v. Pullman Co.   , 50 F. Supp. 123, 127 (E.D. Pa. 1943), aff'd , 330 U.S. 807 (1947) ("While the doctrine
of laches does not apply against the United States, we should approach the question of equitable relief with great hesitancy in a
case where the last operative fact was nearly half a century old.").

207 E.g., New Orleans   , 382 U.S. 17.

208 Pullman   , 50 F. Supp. 123.
                  Case 3:20-cv-08570-JD Document 700-3 Filed 11/04/23 Page 45 of 45
                                                                                                              Page 44 of 44
                         Antitrust Law: An Analysis of Antitrust Principles and Their Application (CCH) 320

     plaintiff had spent the intervening time diligently seeking alternative trading partners. The
     defendant had also negotiated a series of agreements with the plaintiff reflecting their desire
     to find a satisfactory resolution to the dispute. 210 Finally, the court concluded that during the
     intervening time the plaintiff's injury was compensable by damages, and thus it could not
     have established that its remedy at law was inadequate during that time period, although the
     inadequacy of a damages remedy did emerge later. 211

     By contrast, in Ginsburg the Eighth Circuit gave laches as a reason for rejecting a request
     for divestiture of a completed merger at the behest of a class of indirect purchasers. 212
         In this case, Plaintiffs waited nearly two months after A-B and InBev announced their
         agreement to merge before filing this lawsuit. Defendants advised that the transaction
         could close as early as November 12, yet Plaintiffs did not file a motion for preliminary
         injunction until November 3, and then only because the court imposed this deadline.
         When dealing with transactions of this nature, these were inexcusable delays .... 213

     Given Twombly pleading standards, which would require relatively specific allegations
     concerning market definition, market position, and probable anticompetitive effects, two
     months does not seem to be very long. In order to draft a responsible complaint, the plaintiffs
     would almost certainly have had to consult an expert and depose at least a few witnesses. In
     fact, the court seems to have been impelled by a particularly weak substantive case, in which
     the merger was brought under a virtually defunct potential competition theory and the
     government had thoroughly vetted the merger and approved it.

      New York v. Facebook, Inc ., 549 F. Supp. 3d 6, 35-36 (D.D.C. 2021), appeal filed , No.
     21-7078 (D.C. Cir. July 29, 2021) (laches precluded state AG's challenges to Facebook's
     acquisitions of Instagram (in 2012) and WhatsApp (in 2014)).
Antitrust Law: An Analysis of Antitrust Principles and Their Application
Copyright © 2023 by Wolters Kluwer. All Rights Reserved.


  End of Document




209 Steves & Son, Inc. v. JELD-WEN, Inc        ., 988 F.3d 690 (4th Cir. 2021).

210 Id.     at 701-02.

211 Ibid.



212 Ginsburg v. InBev NV/SA        , 623 F.3d 1229 (8th Cir. 2010).

213 Id.     at 1235.
